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               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JAMES MONEY, et al., on behalf of themselves   )
and all similarly situated individuals,        )
                                               )
                      Plaintiffs,              )
                                               )
                      v.                       )      Case No. 20 C 2093
                                               )      (Also Filed in Case. No. 20 C 1792)
J.B. PRITZKER, et al.,                         )
                                               )
                      Defendants.              )

              PLAINTIFFS’ EMERGENCY MOTION FOR A TEMPORARY
               RESTRAINING ORDER OR PRELIMINARY INJUNCTION


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                                         INTRODUCTION

        COVID-19 has been declared a national pandemic, President Trump has declared a

national emergency, and the Governor has issued a proclamation declaring a disaster in the State

of Illinois. More than 823,000 people across the globe have been infected and the disease has

caused more than 40,500 deaths. Nearly 37,000 people are incarcerated in Illinois, living in close

quarters where all aspects of daily life, including healthcare and food service, take place. As with

other congregate settings like nursing homes and long-term care facilities, social distancing

guidelines can never be fully or effectively implemented in prison. And each day, thousands of

staff must come and go from prison facilities, potentially carrying with them the novel

coronavirus for days, even weeks, without ever showing symptoms. These settings pose a

particular risk of spreading the virus, with catastrophic consequences not just to the prisoners and

staff, but also to their communities and the hospitals that serve them.

        The men and women in IDOC custody who have underlying serious medical conditions,

and individuals over 55 years of age, face an even greater risk of severe illness and death if and

when an outbreak occurs in the prison where they are currently housed. These prisoners are

sitting ducks, waiting to see whether the lethal virus that has claimed so many lives is coming for

theirs next. The virus is already at Stateville, and there is every reason to believe that it will

appear in prisons throughout the State in the coming days and weeks, leaving death and severe

illness in its wake. Defendants have the mechanisms available to temporarily transfer these

vulnerable prisoners via a medical furlough so that they can self-isolate. But they have instead

chosen inaction. To ensure that these vulnerable prisoners are not forced to die because of

Defendants’ politically motivated inaction, Plaintiffs respectfully request that this Court

preliminarily certify Plaintiffs’ proposed subclasses 1 and 2, grant Plaintiffs’ request for a




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temporary restraining order, and order Defendants to temporarily transfer the following

individuals to their homes to self-isolate via medical furlough:

       a.       People who have serious underlying medical conditions that put them at
                particular risk of serious harm or death from COVID-19, including but not
                limited to: those with chronic lung disease or moderate to severe asthma, people
                with heart disease, people who are immunocompromised due to cancer or other
                medical conditions or treatment, people with severe obesity, people with any
                other underlying serious medical conditions such as those with diabetes, renal
                failure, liver disease, and any other condition specifically identified by CDC
                either now or in the future as being a particular risk for severe illness and/or
                death caused by COVID-19 and who are eligible for medical furlough pursuant
                to 730 ILCS 5/3-11-1; and

       b.       People who are medically vulnerable to COVID-19 because they are 55 years of
                age and older and who are eligible for medical furlough pursuant to 730 ILCS
                5/3-11-1.

The public interest in avoiding devastation in communities where IDOC prisons are located, and

the United States Constitution, demands it.

                                  FACTUAL BACKGROUND

I.     The COVID-19 Outbreak Has Created a National and Global Health Emergency.

       We are living in the midst of an extreme, unprecedented worldwide health emergency

caused by the rapid spread of the coronavirus, COVID-19. The World Health Organization has

declared COVID-19 to be a global pandemic.1 On March 9, 2020, Illinois Governor J.B. Pritzker




       1
         Rolling updates on coronavirus disease (COVID-19), World Health Organization,
https://www.who.int/emergencies/diseases/novel-COVID-19-2019/events-as-they-happen (last visited
Mar. 29, 2020).


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issued a proclamation declaring a disaster in the State of Illinois.2 On March 13, 2020, President

Trump declared a national emergency.3

        The number of known COVID-19 infections is increasing daily. As of April 1, 2020,

there were more than 823,000 reported COVID-19 cases throughout the world and more than

40,500 people had died as a result of the virus.4 In the United States alone, there are over

186,000 confirmed cases and over 3,600 deaths.5 In Illinois, there are over 6,900 confirmed cases

and 141 deaths.6 The number of COVID-19 cases in the United States is expected to grow

exponentially. The Centers for Disease Control and Prevention (“CDC”) projects that without

swift and effective public health interventions, over 200 million people in the U.S. could be

infected with COVID-19 over the course of the epidemic, with as many as 1.7 million deaths.7




        2
         Gubernatorial Disaster Proclamation, available at
https://www2.illinois.gov/sites/gov/Documents/APPROVED%20-
%20Coronavirus%20Disaster%20Proc%20WORD.pdf (last visited Apr. 1, 2020).
        3
          Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease
(COVID-19) Outbreak (Mar. 13, 2020), available at https://www.whitehouse.gov/presidential-
actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-
outbreak/ (last visited Apr. 1, 2020).
        4
          Coronavirus disease 2019 (COVID-19) Situation Report – 72, World Health Organization
(April 1, 2020), available at https://www.who.int/docs/default-source/coronaviruse/situation-
reports/20200401-sitrep-72-covid-19.pdf?sfvrsn=3dd8971b_2 (last visited Apr. 1, 2020).
        5
          Coronavirus Disease 2019 (COVID-19): Cases in U.S., Centers for Disease Control and
Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
us.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fcases-
in-us.html (last visited Apr. 1, 2020).
        6
         Coronavirus Disease 2019 (COVID-19), Ill. Dept. of Pub. Health,
http://www.dph.illinois.gov/topics-services/diseases-and-conditions/diseases-a-z-list/coronavirus (last
visited Apr. 1, 2020).
        7
         Sheri Fink, Worst-Case Estimates for U.S. Coronavirus Deaths, The New York Times, (Mar.
13, 2020), available at https://www.nytimes.com/2020/03/13/us/coronavirus-deaths-estimate.html (last
visited Apr. 1, 2020).


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        COVID-19 is a particularly contagious disease. A recent study showed that the virus can

survive for up to three hours in the air, four hours on copper, up to twenty-four hours on

cardboard, and up to two to three days on plastic and stainless steel.8 Indeed, a new study of an

early cluster of COVID-19 cases in Wuhan, China revealed the dangers of indirect transmission

resulting from infected people contaminating common surfaces—in the study, it was a

communal mall bathroom.9

        Controlling the spread of COVID-19 is made even more difficult because of the

prominence of asymptomatic transmission—people who are contagious but who exhibit no

symptoms, rendering ineffective any screening tools dependent on identifying disease

symptoms.10

        There is no known vaccine or cure for COVID-19. No one is immune.

        Common symptoms of COVID-19 include fever, cough, and shortness of breath.11 Other

symptoms include congestion, sneezing, fatigue, or diarrhea.12 Many individuals who become

infected with COVID-19 may have mild or moderate symptoms; some may experience no

symptoms at all. Other patients may experience severe symptoms requiring intensive medical


        8
         Novel Coronavirus Can live on Some Surfaces for Up to 3 Days, New Tests Show. TIME,
available at https://time.com/5801278/coronavirus-stays-on-surfaces-days-tests/ (last visited Mar. 31,
2020).
        9
           Cai J, Sun W, Huang J, Gamber M, Wu J, He G. Indirect virus transmission in cluster of
COVlD-19 Cases, Wenzhou, China, 2020. Emerg Infect Dis. 2020 Jun., available at
https://wwwnc.cdc.gov/eid/article/26/6/20-0412_article (last visited Mar. 31, 2020).
         10
            Johnny Milano, Infected but Feeling Fine: The Unwitting Coronavirus Spreaders, New York
Times, https://www.nytimes.com/2020/03/31/health/coronavirus-asymptomatic-transmission.html (last
visited Apr. 1, 2020).
        11
          Coronavirus Disease 2019 (COVID-19), Symptoms of Coronavirus, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html (last visited Mar. 29,
2020).

         Q&A on Coronaviruses (COVID-19), World Health Organization, https://www.who.int/news-
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room/q-a-detail/q-a-coronaviruses (last visited Mar. 29, 2020).


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intervention.13 However, even with hospitalization and intensive treatment, thousands of

individuals have died as a result of this infection. Regardless of the type of severity of symptoms,

all infected persons are contagious and can rapidly transmit the virus from person to person

without proper public health interventions.14 The virus is known to spread from person to person

through respiratory droplets, close personal contact, and from contact with contaminated surfaces

and objects.15

       People over the age of fifty-five face greater chances of serious illness or death from

COVID-19. In a February 29, 2020 WHO-China Joint Mission Report, the preliminary mortality

rate analyses showed that individuals age 70-79 had an overall 8% mortality rate, individuals age

60-69 had a 3.6% mortality rate, and individuals age 50-59 had a 1.3% mortality rate. For

individuals age 40-49, the mortality rate was 0.4%, and for individuals 40 years and younger, the

mortality rate was as low as 0.2%.16

       People of any age who suffer from certain underlying medical conditions are also at

elevated risk, including people with respiratory conditions including chronic lung disease or

moderate to severe asthma; people with heart disease or other heart conditions; people who are

immunocompromised as a result of cancer, HIV/AIDS, or any other condition or related to

treatment for a medical condition; people with chronic liver or kidney disease or renal failure



       13
            Id.
       14
          Coronavirus Disease 2019 (COVID-19): How It Spreads, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-
spreads.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fprepare%2Ftransmission.html (last visited Mar. 29, 2020).
       15
            Id.
       16
          Age, Sex, Existing Conditions of COVID-19 Cases and Deaths Chart,
https://www.worldometers.info/coronavirus/coronavirus-age-sex-demographics/ (date analysis based on
WHO-China Joint Mission Report).


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(including hepatitis and dialysis patients); people with diabetes, epilepsy, hypertension, blood

disorders (including sickle cell disease), inherited metabolic disorders; and people who have had

or are at risk of stroke.17 The WHO-China Joint Mission Report indicates that the mortality rate

for those with cardiovascular disease was 13.2%, 9.2% for diabetes, 8.4% for hypertension, 8.0%

for chronic respiratory disease, and 7.6% for cancer.18

       For these vulnerable populations, the symptoms of COVID-19, particularly shortness of

breath, can be severe, and complications can manifest at an alarming pace. Most people in higher

risk categories who develop serious illness will need advanced support. This level of supportive

care requires highly expensive and specialized equipment, including ventilators, that are in

limited supply.19

       Increasingly, and in the United States in particular, even some younger and healthier

people who contract COVID-19 may require hospitalization for supportive care, including

intravenous fluids and supplemental oxygen.20 Medical providers and medical facilities are in

peril of becoming completely overwhelmed and beyond capacity to provide this type of intensive

care as COVID-19 continues to spread.21




       17
          Coronavirus Disease 2019 (COVID-19): People Who Need Extra Precautions, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-
risk.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fspecific-groups%2Fhigh-risk-complications.html (last visited Mar. 29, 2020).
       18
          Report of the WHO-China Joint Mission on Coronavirus Disease 2019 (COVID-19), World
Health Organization (Feb. 28, 2020), at 12, https://www.who.int/docs/default-source/coronaviruse/who-
china-joint-mission-on-covid-19-final-report.pdf.
       19
            Ex. 1 (Dr. Robert Greifinger Declaration).
       20
            Ex. 2 (Dr. Jamie Meyer Declaration).
       21
            Id.


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           Even for those who survive COVID-19, recent clinical evidence indicates that in persons

who suffer severe symptoms, the virus may also cause damage to organs such as the heart, the

liver, and the kidneys, as well as to organ systems such as the blood and the immune system.

This damage is so extensive and severe that it may be enduring. Among other things, patients

who suffer severe symptoms from COVID-19 end up having damage to the walls and air sacs of

their lungs, leaving debris in the lungs and causing the walls of lung capillaries to thicken so that

they are less able to transfer oxygen going forward. Indeed studies of some recovered patients in

China and Hong Kong indicate a declined lung function of 20% to 30% after recovery.22

           The only way to prevent complications and the enormous risk to medically vulnerable

people is to prevent them from becoming infected. Everyone is at risk of transmission of

COVID-19. There is no available vaccine to protect against infection from COVID-19 and no

medications approved to treat it.23 The CDC and other public health agencies have universally

prescribed social distancing—every person should remain at a distance of at least six feet from

every other person—and rigorous hygiene—including regular and thorough hand washing with

soap and water, the use of alcohol-based hand sanitizer, proper sneeze and cough etiquette, and

frequent cleaning of all surfaces—as the only ways to meaningfully mitigate the spread of this

virus.24




          Tianbing Wang, et al., Comorbidities and Multi-Organ Injuries in the Treatment of COVID-19,
           22

395 Lancet 10228 (2020), available at https://www.thelancet.com/journals/lancet/article/PIIS0140-
6736(20)30558-4/fulltext; George Washington University Hospital, GW Hospital Uses Innovative VR
Technology to Assess Its First COVID-19 Patient,
https://www.gwhospital.com/resources/podcasts/covid19-vr-technology (last visited Apr. 1, 2020).

          Coronavirus Disease 2019 (COVID-19): Situation Summary, CDC,
           23

https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/summary.html (lasted visited Mar. 29, 2020).

          Coronavirus Disease 2019 (COVID-19): How to Protect Yourself, CDC,
           24

https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-


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       The CDC has issued a guidance that gatherings of more than 10 people must not occur.25

People in congregate environments, which are places where people live, eat, and sleep in close

proximity, face increased danger of contracting COVID-19, as already evidenced by the rapid

spread of the virus in cruise ships and nursing homes. The CDC also warns of “community

spread” where the virus spreads easily and sustainably within a community where the source of

the infection is unknown.26

       On March 20, 2020, Illinois Governor Pritzker took the strictest measure yet to fight the

virus’s spread, issuing a “stay at home” executive order for all residents effective starting March

21, 2020 through at least April 7, 2020; which was then extended to April 30, 2020.27 The order

directs all non-essential business and operations to cease. People are allowed to leave their

homes only for essential activities. Any gathering larger than 10 people is prohibited, and people

are recommended to stay at least six feet away from others. Restaurants, bars, schools, parks, and

libraries have all been shut down. In a statement to the public, Governor Pritzker explained that

his order was based on his conversations with “some of the best medical experts,




sick/prevention.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-
ncov%2Fprepare%2Fprevention.html (last visited Mar. 29, 2020).
       25
          Interim Guidance for Coronavirus Disease 2019 (COVID-19), Guidance as of 3/15/2020,
https://www.cdc.gov/coronavirus/2019-ncov/community/large-events/mass-gatherings-ready-for-covid-
19.html (last visited Apr. 1, 2020).
       26
          Coronavirus Disease 2019 (COVID-19): How Coronavirus Spreads,
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html (last visited
Apr. 1, 2020).
       27
          Executive Order In Response to COVID-19 (COVID-19 Executive Order No.8),
https://www2.illinois.gov/IISNews/21288-Gov._Pritzker_Stay_at_Home_Order.pdf; Illinois’ Stay-at-
Home Order Extended Through April, Pritzker Announces, NBCChicago (Mar. 31, 2020)
https://www.nbcchicago.com/news/local/illinois-stay-at-home-order-expected-to-be-extended-
sources/2247274/ (last visited Apr. 1, 2020).


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epidemiologists, mathematicians, and modelers,” and all recommended a stay at home order “to

avoid the loss of potentially tens of thousands of lives.”28

        Governors around the country, including in California, New York, and Connecticut, have

issued similar stay at home orders to curb the spread of the virus.29

        Recognizing the imperative of social distancing, Circuit Court Chief Judge Timothy

Evans ordered that the Cook County courts be largely closed to the public, that all hearings be

conducted via videoconference wherever possible, and that all individuals in the courthouses

maintain a minimum distance of six feet from all other individuals.30 This Court, joined by other

district courts in the state and across the country, have continued all criminal and civil jury trials

because the imperative of social distancing “render[s] juror participation difficult or unsafe.”31

II.     Incarcerated People Are Particularly Vulnerable to Infection from COVID-19.

        None of the recommended measures for mitigating the spread of COVID-19 are available

for persons confined in correctional facilities and for those who must interact with them.

Correctional facilities are inherently congregate environments, where large groups of people live,

eat, and sleep in close contact with one another. It is impossible to achieve social distancing




        28
          Gov. J.B. Pritzker issues order requiring residents to ‘stay at home’ starting Saturday, Chicago
Tribune, Mar. 20, 2020, https://www.chicagotribune.com/coronavirus/ct-coronavirus-illinois-shelter-in-
place-lockdown-order-20200320-teedakbfw5gvdgmnaxlel54hau-story.html (last visited Apr. 1, 2020).
        29
             Id.

         Circuit Court of Cook County, Administrative Order 2020-01 (amended Mar. 30, 2020),
        30

http://www.cookcountycourt.org/Portals/0/Order%203-30-20.pdf (last visited Mar. 30, 2020).
        31
          U.S. District Court for the Northern District of Illinois, 2d Am. Gen. Order 20-0012 (Mar. 30,
2020); see also U.S. District Court for the Southern District of Illinois, Admin. Order 263 (Mar. 30,
2020); U.S. District Court for the Central District of Illinois, Am. Gen. Order 20-01 (Mar. 18, 2020).


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standards in these settings.32 Therefore infectious diseases, particularly airborne diseases, such as

COVID-19, are more likely to spread rapidly between individuals in correctional facilities.33

       The risk of contracting an infectious disease is also higher in correctional facilities

because the facilities are not sanitary environments. People share toilets, sinks, and showers, and

often have limited access to soap, hand sanitizer, hot water, and other necessary hygiene items.

Surfaces are infrequently washed, if at all, and cleaning supplies are in short supply.34 These

needs are now multiplied and also compounded by the lack of personal protective equipment

(PPE) such as masks and gloves for either staff or prisoners. This means there are more people

who are susceptible to getting infected all congregated together in a context in which fighting the

spread of an infection is nearly impossible.

       Given the history of epidemiologic outbreaks in correctional facilities, such as

Tuberculosis, influenza, and MRSA, it is expected that COVID-19 will also readily spread in

prisons, especially when people cannot engage in proper hygiene and adequately distance

themselves from infected residents or staff. 35

       The people who live in these environments—environments that defy all current public

safety standards— are themselves at high risk due to the high rates of chronic health conditions,

substance use, mental health issues, and aging and chronically ill populations who may be

vulnerable to more severe illnesses, and to death, after infection from COVID-19.36 As Dr. Craig




       32
            Ex. 1 (Greifinger Decl.); Ex. 3 (Dr. Craig Haney Declaration).
       33
            Ex. 4 (Dr. Chris Beyrer Declaration); Ex. 2 (Meyer Decl.).
       34
            Ex. 1 (Greifinger Decl.); Ex. 2 (Meyer Decl.); Ex. 3 (Haney Decl.); Ex. 4 (Beyrer Decl.).
       35
            Ex. 4 (Beyrer Decl.).
       36
            Id.


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Haney, a correctional health expert, explains, prisoners are “unusually vulnerable to stress-

related and communicable diseases. Formerly incarcerated persons suffer higher rates of certain

kinds of psychiatric and medical problems. Incarceration leads to higher rates of morbidity

(illness rates) and mortality (i.e., it lowers the age at which people die).”37

        Additionally, many correctional facilities lack an adequate medical care infrastructure to

address the spread of infectious disease, like COVID-19, and treat high-risk people in custody.38

Prison health units are not equipped with sufficient emergency medical equipment, such as

oxygen tanks, nasal cannulae, and oxygen face masks, to respond to an outbreak of patients with

respiratory distress. For these reasons, among others, experts have warned that, “widespread

community transmission of COVID-19 within a correctional institution is likely to result in a

disproportionately high COVID-19 mortality rate.”39 Prisons and jails rely on outside community

hospitals to provide more advanced and intensive medical care, and during an epidemic, this will

not be possible, as those outside facilities will likely be at or over capacity themselves.40

        Prisons are not closed environments. By necessity, members of the free community,

including correctional officers, social workers, attorneys, medical personnel, and many others

must enter and leave the prisons on a daily basis. Staff arrive and leave each facility three times a

day in large numbers, and there is little to no ability to adequately screen staff for new,




        37
             Ex. 3 (Haney Decl.).
        38
             Ex. 1 (Greifinger Decl.) Ex. 2 (Meyer Decl.).
        39
           “COVID-19 in Correctional Settings: Unique Challenges and Proposed Responses” (March 23,
2020), https://amend.us/wp-content/uploads/2020/03/COVID-in-Corrections-Challenges-and-Solutions-
1.pdf; see also “Correctional Facilities In The Shadow Of COVID-19: Unique Challenges And Proposed
Solutions," Health Affairs Blog, March 26, 2020, available at
https://www.healthaffairs.org/do/10.1377/hblog20200324.784502/full/ (last visited Apr. 1, 2020).
        40
             Ex. 2 (Meyer Decl.).


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asymptomatic infection. When the COVID-19 virus occurs and spreads within a prison, all

persons, staff and prisoners alike, are at heightened risk of contracting the virus and, in turn,

spreading the virus to others with whom they come in contact in their own homes and

neighborhoods.41

        At the Governor’s March 29, 2020, daily briefing on the coronavirus situation, IDPH

Director Dr. Ngozi Ezike acknowledged the present danger that when the infection enters

prisons, the congregate nature of these facilities, with staff coming and going from the

community each day in large numbers, will “increase the rate of infection and its fast spread

through these facilities.”42

        On March 30, 2020, following the death of a COVID-19 patient at Stateville, Dr. Ezike

again acknowledged the heightened risk posed by correctional settings and the inability to

conform them to public health standards:

        Congregate settings such as Stateville, any other correctional center, pose unique
        challenges in stopping the spread of disease and protecting the health of
        individuals who live and work there. Those who are incarcerated obviously live
        and work and eat and study and recreate all within that same environment,
        heightening the potential for COVID-19 to spread really quickly once it’s
        introduced.
        The options for isolation of COVID-19 cases are limited in this focused setting
        and it becomes very difficult depending on the size of the facility and the
        population that’s already in the facility. Ideally, all cases should be isolated
        individually and close contact should be quarantined individually. I know our
        partners at the Department of Corrections are working innovatively to try to create
        the best situations for these, for these facilities. But some facilities and
        correctional centers do not have enough individual cells, and so we are




        41
             Ex. 1 (Greifinger Decl.).
        42
           March 29: Governor JB Pritzker Delivers Daily Coronavirus Briefing, NBC, available
at https://www.nbcchicago.com/top-videos-home/march-29-governor-jb-pritzker-delivers-daily-
coronavirus-briefing/2246851/ (last visited Apr. 1, 2020).


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        considering isolating multiple laboratory confirmed COVID-19 cases together as
        a group, or quarantining close contacts of a particular case together as a group.43

        The devastating impact that a COVID-19 outbreak in IDOC will have on surrounding

communities is already a reality. Stateville Correctional Center announced its first confirmed

case on Wednesday, March 25, 2020, and by Monday evening, March 30, 2020, St. Joseph

Hospital in Joliet was “overwhelmed” by inmates suffering from the effects of coronavirus and

staff were “maxed out.”44 The hospital’s medical director, Dr. John Walsh, said, “This is a

disaster because what I most fear is that without some resolution, the number of cases coming in

from Stateville will become excessive. We currently have nine inmates on ventilators, critically

ill. There was four in the emergency department a couple of hours ago, and I believe the volume

of patients there is huge. In addition, something has to be done at Stateville. You will have a

huge epidemic, remembering that 20% of the people who contract this virus are probably gonna

end up in hospital and a number of them are gonna die. This could end with up to 100 inmates

dying if this is out of control, and they are not isolated well at this point.”45 St. Joseph Hospital is

now caring for 17 prisoners from Stateville, 9 of whom are in intensive care on ventilators. Other

prison communities throughout Illinois are similarly situated, many with far fewer intensive care

beds available to provide care when an outbreak occurs. To prevent the crisis now occurring in

Joliet from repeating and worsening across the state, effective mitigation measures must be taken

now.


        43
          March 30: Governor JB Pritzker Delivers Daily Coronavirus Briefing, NBC, available at
https://www.nbcchicago.com/top-videos-home/march-30-governor-jb-pritzker-delivers-daily-
coronavirus-briefing/2247385/ (last visited Apr. 1, 2020).
        44
           abc7 Chicago, Illinois Prisoners Sick with COVID-19 Overwhelm Juliet Hospital (video),
available at https://abc7chicago.com/health/illinois-prisoners-sick-with-covid-19-overwhelm-joliet-
hospital/6064085/ (last visited Mar. 31, 2020).
        45
             Id.


                                                   13
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   III.        Reducing the Prison Population Is the Only Meaningfully Means to Prevent the
               Harm Caused by COVID-19 in Prisons and their Surrounding Communities.

          Because the public health and safety measures cannot be fully achieved in correctional

facilities, other steps must be taken to save lives and protect the spread of the infection from

these communities. Proactive risk mitigation, including eliminating close contact in congregate

environments, is the only effective way to prevent the spread of the COVID-19 infection. In fact,

a study published in the Journal of Travel Medicine found that the number of COVID-19 cases

on the Diamond Princess cruise ship would have been more than eight times lower if the ship

had been evacuated in a timely manner, rather than requiring the passengers to quarantine within

the close confines of the ship.46

          Public health experts with experience in correctional settings have similarly

recommended the release from custody of people most vulnerable to COVID-19 to protect the

communities inside and outside the prisons, and to slow the spread of the COVID-19 infection.

Population reduction protects the people with the greatest vulnerability to COVID-19 from

transmission of the virus, and also allows for greater risk mitigation for all people held or

working in a correctional facility. Because prisons are often located in small rural communities,

removing the most vulnerable people from custody also reduces the burden on those region’s

limited health care infrastructure by reducing the likelihood that an overwhelming number of

people will become seriously ill from COVID-19 at the same time and require hospitalization in

these small communities.




           Sandoiu, supra (Citing Rocklov J., Sjodin H., Wilder-Smith A., COVID-19 Outbreak on the
          46

Diamond Princess Cruise Ship: Estimating the Epidemic Potential and Effectiveness of Public Health
Countermeasures. Journal of Travel Medicine (Feb. 28, 2020), https://academic.oup.com/jtm/advance-
article/doi/10.1093/jtm/taaa030/5766334 (last visited Apr. 1, 2020).


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        Dr. Robert Greifinger, a correctional health expert, has concluded that “[r]isk mitigation

is the only viable public health strategy available to limit transmission of infection, morbidity

and mortality in prisons, and to decrease the likely public health impact outside of the prisons.

Even with the best-laid plans to address the spread of COVID-19 in prisons, the release of

individuals, prioritizing the most medically vulnerable individuals, is a key part of a risk

mitigation strategy . . . Additionally, the release of detainees who present a low risk of harm to

the community is also an important mitigation strategy as it reduces the total number of detainees

in a facility.”

        Dr. Greifinger explains that reducing the prison population “has a number of valuable

effects on public health and public safety: it allows for greater social distancing, which reduces

the chance of spread if virus is introduced; it allows easier provision of preventive measures such

as soap for handwashing, disinfecting supplies for surfaces, frequent laundering and showers,

etc.; and it helps prevent overloading the work of detention staff, which will likely be reduced by

illness, such that they can continue to ensure the safety of detainees.”

        Similarly, Dr. Craig W. Haney, a Distinguished Professor of Psychology and UC

Presidential Chair at the University of California Santa Cruz, recommends that “adult prisons

must reduce their populations urgently in order to allow the necessary social distancing in

response to the COVID-19 Pandemic.”47

        Professor Chris Breyer, professor of Epidemiology at John Hopkins Bloomberg School of

Public Health, has concluded: “While every effort should be made to reduce exposure in

detention facilities, this may be extremely difficult to achieve and sustain. It is therefore an




        47
             Ex. 3 (Haney Decl.).


                                                  15
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urgent priority in this time of national public health emergency to reduce the number of persons

in detention as quickly as possible.”48

       Dr. Jaimie Meyer, Assistant Professor of Medicine at Yale School of Medicine and

Assistant Clinical Professor of Nursing at Yale School of Nursing, has concluded that

“[r]educing the size of the population in jails and prisons can be crucially important to reducing

the level of risk both for those within those facilities and for the community at large.”49 She

explains that “[h]ealth in jails and prisons is community health. Protecting the health of

individuals who are detailed in and work in these facilities is vital to protecting the health of the

wider community.”50

       Dan Pacholke, a corrections expert with more than 37 years of experience, has specific

recommendations for steps IDOC can take to proactively respond to COVID-19 to protect the

health and safety of people in IDOC custody and IDOC staff.51 Mr. Pacholke explains: “Among

those steps is considering how IDOC can exercise its authority and discretion . . . to reduce the

prison population. This includes awarding good time credits, transferring people to home

detention, and authorizing medical furloughs.”52 Mr. Pacholke further explains that “[a]ll of

these and any other options should be fully utilized to allow individuals to maintain social




       48
            Ex. 4 (Beyrer Decl.).
       49
            Ex. 2 (Meyer Decl.).
       50
            Id.
       51
            Ex. 5 (Dan Pacholke Declaration).
       52
            Id.



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distancing and have better access to testing and treatment. This will also help mitigate the impact

of staff shortages and lessens the burden on prison medical services.”53

        Internationally, governments have recognized the threat posed by COVID-19 in

correctional facilities and have released detainees. In Iran, for example, about 70,00 people were

temporarily released from jails to curb the spread of COVID-19.54

        In the United States, the need to address the COVID-19 problem in prisons has been

recognized on a national level. The COVID-19 stimulus package passed by Congress specifically

includes funding for federal prisons to purchase personal protective gear and tests kits for

COVID-19 because of the “density of the inmate population, the high traffic, the high volume of

inmates, [and] the high rate of turnover of inmates and personnel.”55 The bill authorizes the

Attorney General to lengthen the maximum amount of time that a federal prisoner can be placed

in home confinement during the pandemic.56

        On March 30, 2020, the United States House of Representatives Committee on the

Judiciary recommended a similar plan of action, calling on the federal Bureau of Prisons to

drastically increase its population reduction efforts, including through release where viable and

increased use of home detention.57


        53
             Id.
        54
          Iran Temporarily Releases 70,000 Prisoners As Coronavirus Cases Surge, Reuters (Mar. 9,
2020), available at https://www.reuters.com/article/us-health-coronavirus-iran/iran-temporarily-releases-
70000-prisoners-ascoronavirus-cases-surge-idUSKBN20W1E5 (last visited Apr. 2, 2020).
        55
          Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”) H.R. 748, at 633 (2020),
available at https://assets.documentcloud.org/documents/6819239/FINAL-FINAL-CARES-ACT.pdf (last
visited Apr. 1, 2020).
        56
             Id. at 634.
        57
           March 30, 2020 letter, available at
https://judiciary.house.gov/uploadedfiles/3.30.20_letter_to_ag_barr_re_covid19.pdf?utm_source=The+M
arshall+Project+Newsletter&utm_campaign=e6df8704ef-


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        Echoing the calls of advocates and medical professionals, a group of 35 elected

prosecutors have called on leaders within the criminal legal system to “dramatically reduce the

number of incarcerated individuals and the threat of disastrous outbreaks.”58

        A number of states have begun to take steps to protect people in prisons from the

impending spread of COVID-19 by releasing people in an effort to reduce populations.

        In California, Governor Newsom announced his plans to accelerate the release of 3,500

people from state prisons in an effort to reduce the population as COVID-19 infections continue

to spread in the prisons.59 This announcement comes in advance of a court hearing schedule to

begin later this week to determine if more individuals should be released.

        The Iowa Department of Corrections has announced that the DOC is expediting the

release of about 700 prisoners, or 7% of its population, who are approved for parole or work

release.60




EMAIL_CAMPAIGN_2020_03_31_11_34&utm_medium=email&utm_term=0_5e02cdad9d-
e6df8704ef-174272961 (last visited Apr. 1, 2020).
        58
          Fair and Just Prosecution, Joint Statement from Elected Prosecutors on COVID19 and
Addressing the Rights and Needs of Those in Custody (Mar. 2020), https://fairandjustprosecution.org/wp-
content/uploads/2020/03/Coronavirus-Sign-On-Letter.pdf (last visited Apr. 1, 2020).

         Paige St. John, California to release 3,500 inmates early as coronavirus spreads inside prisons,
        59

LATimes (Mar. 31, 2020), available at https://www.latimes.com/california/story/2020-03-
31/coronavirus-california-release-3500-inmates-prisons (last visited Mar. 30, 2020).
        60
           Officials cut prison, jail numbers; Iowa virus cases hit 105, Newton Daily News (Mar. 24,
2020), available at https://www.newtondailynews.com/2020/03/23/officials-cut-prison-jail-numbers-
iowa-virus-cases-hit-105/acs5xbk/. Also, in North Dakota, the state parole board decided to release over
fifty people, or about 2% of its prison population, on early parole. See April Baumgarten, North Dakota
paroles 56 prisoners early amid pandemic, including 3 convicted of sexual assault, Grand Forks Herald
(Mar. 20, 2020), https://www.grandforksherald.com/news/crime-and-courts/5009882-North-Dakota-
paroles-56-prisoners-early-amid-pandemic-including-3-convicted-of-sexual-assault (last visited Mar. 30,
2020).


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        In New York, Governor Cuomo ordered the release of more than 1,000 people who are in

prisons and jails across the state on the basis of a parole violation.61

        In Colorado, Governor Polis issued an executive order that suspended the caps and

criteria Colorado places on the accrual of good time credits in order to allow the DOC to award

earned time credits to “facilitate the reduction of the population of incarcerated persons and

parolees to prevent an outbreak in prisons.”62 Additionally, the Colorado governor suspended

and relaxed the criteria for individuals to be released to Special Needs Parole.63

        The Vermont Department of Corrections has worked to reduce its population: “[t]he goal

is to reduce our (inmate) population so we can start spreading out the remaining population.”64

Jim Baker, commissioner for the Department, stated that they “started by looking at which

inmates can be let out on furlough and who can be released on probation.”65 Since late February,

the Vermont DOC has released over 200 prisoners (from a population of approximately 1600),

with 100 prisoners being released in the past week.66



        61
          Brendan J. Lyons, NY to release 1,100 parole violators as coronavirus spreads, Times Union
(Mar. 27, 2020), available at https://www.timesunion.com/news/article/Deaths-surge-again-in-New-
York-from-coronavirus-15160973.php (reporting on New York Governor Cuomo’s order to release
parole violators) (last visited Mar. 30, 2020).
        62
            State of Colorado, Executive Order D 2020 016, March 25, 2020, at pg. 2, available at
https://drive.google.com/file/d/18o0yWHzZleHJ87hmgLuBmXwpM8R74Q5x/view (last visited Mar. 30,
2020).
        63
             Id.
        64
          Anna Merriman, ‘It’s very difficult to control’: Many Vermont inmates released so that those
who remain can be spread out, Valley News (Mar. 26, 2020), available at
https://www.vnews.com/Vermont-NH-prisons-working-to-reduce-population-to-prevent-virus-spread-
33512589 (last visited Apr. 1, 2020).
        65
             Id.

      Id.; For population size, see https://doc.vermont.gov/sites/correct/files/documents/2020-03-23-
        66

DOC%20Staff%20Test.pdf (last visited Apr. 1, 2020).


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        Other states, like Oklahoma and Wisconsin, have taken more moderate, and thus less

effective, steps to reduce the populations in prisons by only halting new admissions from county

jails into state prison facilities.67

        Several counties with significant jail populations have also undertaken measures to

reduce their facility’s population in an effort to slow the spread of COVID-19. Many of these

steps have included drastically reducing the jail populations within a matter of weeks, or

sometimes days. Counties on the West Coast have been the sites of several large scale jail

population reductions. Counties in California in particular have seen significant reductions. The

Los Angeles County Sheriff decreased the jail population by ten percent by releasing 1,700

individuals within the last month.68 In Alameda County in Northern California, more than 300

individuals have been released from jail in the span of two weeks, amounting to eleven percent

of the jail’s population.69 Oregon has similarly reduced its jail population in Washington County,

outside Portland, by more than 120 inmates (from a population of 574), freeing up enough space

for each remaining inmate to be housed in their own cell.70 Washington State similarly released


        67
          DOC Stops Accepting Newly Sentenced State Prisoners, The Frontier (Mar. 22, 2020),
https://www.enidnews.com/news/local_news/doc-stops-accepting-newly-sentenced-state-
prisoners/article_ea6a42a4-47c1-5dbc-9446-5dec46032c5d.html (Oklahoma DOC halting new
admissions into the state prison system); Emergency Order # 9, Order to the Dep’t of Corrections, Tony
Evers, Gov. Wisconsin (Mar. 20, 2020).
        68
          Justin Carissimo, 1,700 inmates released from Los Angeles County in response to coronavirus
outbreak, CBS News (Mar. 24, 2020), available at https://www.cbsnews.com/news/inmates-released-los-
angeles-county-coronavirus-response-2020-03-24/ (last visited Apr. 1, 2020).
        69
          Sheriff Releases 314 Inmates to Reduce Coronavirus Risk at Alameda County Jail, NBC Bay
Area, (Mar. 19, 2020), available at https://www.nbcbayarea.com/news/coronavirus/sheriff-releases-314-
inmates-to-reduce-coronavirus-risk-at-alameda-county-jail/2258026/ (“The release of the 314 inmates
reduces the number of inmates at Santa Rita to 2,40.”) (last visited Apr. 1, 2020).
        70
           Kimberly Kindy, Emma Brown & Dalton Bennett, ‘Disaster waiting to happen’: Thousands of
inmates released as jails and prisons face coronavirus threat, Washington Post (Mar. 25, 2020),
https://www.washingtonpost.com/national/disaster-waiting-to-happen-thousands-of-inmates-released-as-
jails-face-coronavirus-threat/2020/03/24/761c2d84-6b8c-11ea-b313-df458622c2cc_story.html


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more than 400 individuals from county jails in Clark and King County over the course of a

couple of days.71 In Arizona, Coconino County released ten percent of the jail population to

reduce the population to 400,72 and the Pima County Sheriff has proposed releasing seven

percent of the jail population by releasing 135 inmates.73 In Utah, about 200 individuals are in

the process of being released from the Salt Lake County jail over the coming days (a 10%

reduction in population), following the release of about 90 women from county jail.74

        Cleveland, Ohio drastically reduced the Cuyahoga County jail’s population by releasing

over 700 people from detention, a 35 percent reduction in population.75 In Minnesota, the

Hennepin County jail released 26 percent of the individuals detained.76 In New Orleans, judges


(Washington County jail reduced its population by 120 individuals) (last visited Apr. 1, 2020); Bob Heye,
Coronavirus and Crime: Jail releases, a rash of break-ins and one encouraging trend, KATU (Mar. 23,
2020), available at https://katu.com/news/coronavirus/coronavirus-and-crime-jail-releases-a-rash-of-
break-ins-and-one-encouraging-trend (last visited Apr. 1, 2020).
        71
           Jerzy Shedlock, Clark County Jail releases nearly 200 inmates due to COVID-19, The
Columbian (Mar. 25, 2020), available at https://www.columbian.com/news/2020/mar/25/clark-county-
jail-releases-nearly-200-inmates-due-to-covid-19/ (last visited Apr. 1, 2020).
        72
          Scott Buffon, Coconino County jail releases nonviolent inmates in light of coronavirus
concerns, Arizona Daily Sun (Mar. 20, 2020), available at https://azdailysun.com/news/local/coconino-
county-jail-releases-nonviolent-inmates-in-light-of-coronavirus-concerns/article_a6046904-18ff-532a-
9dba-54a58862c50b.html (last visited Apr. 1, 2020).
        73
           Jacques Billeaud, Tucson lawyers seek release of nonviolent inmates from jail, Tucson.com
(Mar. 24, 2020), available at https://tucson.com/news/local/crime-and-courts/tucson-lawyers-seek-
release-of-nonviolent-inmates-from-jail/article_0cd49be4-6dd6-11ea-99d3-576d60e1dae5.html (last
visited Apr. 1, 2020).

        74
          Francisco Kjolseth, Hundreds of Utah inmates will soon be released in response to
coronavirus, The Salt Lake Tribune (Mar. 20, 2020), available at
https://www.sltrib.com/news/2020/03/21/hundreds-utah-inmates/ (the total jail population in Salt Lake
County jail was 1,964 people) (last visited Apr. 1, 2020).
        75
          Officials taking steps to reduce county jail populations in Ohio, AP, WBNS (Mar. 21, 2020),
available at https://www.10tv.com/article/officials-taking-steps-reduce-county-jail-populations-ohio-
2020-mar (last visited Apr. 1, 2020).

         Coronavirus In Minnesota: Hennepin County Jail Population Cut By 26% After Release Of
        76

Low-Risk Inmates To Prevent COVID-19 Spread, CBS Minnesota (Mar. 23, 2020), available at


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overseeing the local criminal court issued a “blanket order” to release a substantial number of

individuals being held in pretrial detention.77 The New Orleans jail population has subsequently

been reduced by about 14 percent.78 In Alabama, the jail population in Washington County is

likely to reduce by over 40 percent: from more than 800 a few months ago to below 450.79

Several other Midwestern and Southern counties have seen population reductions of 150 or more

individuals from relatively small county jails, including: Oklahoma County, Oklahoma;80

Sedgwick County, Kansas;81 Bexar County, Texas;82 St. Louis County, Missouri;83 Macomb and




https://minnesota.cbslocal.com/2020/03/23/coronavirus-in-minnesota-hennepin-county-jail-population-
cut-by-26-after-release-of-low-risk-inmates-to-prevent-covid-19/ (last visited Apr. 1, 2020).
        77
           Orleans Criminal Court judges order release of certain inmates amid coronavirus crisis, WDSU
News, (Mar. 26, 2020), available at https://www.wdsu.com/article/orleans-criminal-court-judges-order-
release-of-certain-inmates-amid-coronavirus-crisis/31943462# (last visited Apr. 1, 2020).
        78
             Id.
        79
            Tom Sissom, Washington County jail plans for release of 81 more inmates, Northwest
Arkansas Democrat-Gazette (Mar. 26, 2020), available at
https://www.nwaonline.com/news/2020/mar/26/washington-county-jail-plans-release-81-more-inmat/
(last visited Apr. 1, 2020).
        80
           Kayla Branch, Coronavirus in Oklahoma: Over 200 nonviolent offenders released from
Oklahoma County jail to limit COVID-19 spread, The Oklahoman (Mar. 25, 2020), available at
https://oklahoman.com/article/5658504/coronavirus-in-oklahoma-over-200-non-violent-offenders-
released-from-oklahoma-county-jail-to-limit-covid-19-spread (releasing 200 people) (last visited Apr. 1,
2020).
        81
          R. Leiker & Michael Stavola, So far, 200 jail inmates released over COVID-19 concerns,
Sedgwick County DA says, The Wichita Eagle (Mar. 26, 2020), available at
https://www.kansas.com/news/local/crime/article241501106.html (last visited Apr. 1, 2020).
        82
            Eileen Pace, Bexar County Jail Explores Early Releases, Ceasing Low-Level Arrests Amid
Coronavirus, Texas Public Radio (Mar. 20, 2020), available at https://www.tpr.org/post/bexar-county-
jail-explores-early-releases-ceasing-low-level-arrests-amid-coronavirus (releasing more than 140 people)
(last visited Apr. 1, 2020).
        83
          Jeremy Kohler & Joel Currier, St. Louis city and county to release more than 140 inmates amid
virus concerns, St. Louis Post-Dispatch (Mar. 26, 2020), available at
https://www.stltoday.com/news/local/crime-and-courts/st-louis-city-and-county-to-release-more-than-
inmates/article_dd8b30f6-c3ea-5229-b7ac-0aa36ee8f14c.html (last visited Apr. 1, 2020).


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Wayne Counties in Michigan;84 Kenton and Louisville Counties in Kentucky;85 and Nashville,

Tennessee.86

        On the East Coast, Pittsburgh reduced the county jail population by 20 percent by

releasing approximately 500 people.87 New York City plans to release about 7% of Rikers

Island’s population by releasing 375 inmates who do not pose a threat to society, amidst a call

from advocates for more releases given the ballooning rate of infection in Rikers Island.88 A




        84
          Karen Drew, Metro Detroit county jails reviewing cases to see which inmates could be released
amid coronavirus (COVID-19) outbreak, Click On Detroit (Mar. 24, 2020), available at
https://www.clickondetroit.com/news/defenders/2020/03/25/metro-detroit-county-jails-reviewing-cases-
to-see-which-inmates-could-be-released-amid-coronavirus-covid-19-outbreak/ (the two counties
combined released more than 440 individuals) (last visited Apr. 1, 2020).
        85
          John Cheves, Chief justice pleads for Kentucky inmate releases ahead of COVID-19, but
progress slow, Lexington Herald Leader (Mar. 23, 2020), available at
https://www.kentucky.com/news/coronavirus/article241428266.html (last visited Apr. 1, 2020); Katrina
Helmer, Metro Corrections releasing non-violent inmates to prevent coronavirus spread, WDRB.com
(Mar. 18, 2020), available at https://www.wdrb.com/news/metro-corrections-releasing-non-violent-
inmates-to-prevent-coronavirus-spread/article_0fbed080-6968-11ea-ada1-f73b721440b2.html (last visited
Apr. 1, 2020).
        86
          Kevin Johnson, Local jails releasing hundreds of prisoners amid coronavirus fears, up from
dozens just weeks ago, USAToday (Mar. 26, 2020), available at
https://www.usatoday.com/story/news/politics/2020/03/26/jails-free-hundreds-prisoners-stop-
coronavirus/5077204002/ (last visited Apr. 1, 2020).
        87
           Paula Reed Ward, 485 Allegheny County jail inmates released over virus fears, Pittsburgh
Post-Gazette (Mar. 26, 2020), available at https://www.post-gazette.com/news/crime-
courts/2020/03/26/Allegheny-County-jail-inmates-485-released-Pittsburgh-coronavirus-COVID-19-
fears/stories/202003260184 (last visited Apr. 1, 2020).
        88
           Tess Owen, NYC Is Releasing Hundreds of Inmates to Stop the Spread of Coronavirus, VICE
News (Mar. 26,2020), available at https://www.vice.com/en_us/article/939j9a/nyc-is-releasing-hundreds-
of-inmates-to-stop-the-spread-of-cornavirus; Noah Higgins-Dunn, Coronavirus: New York City to release
300 nonviolence inmates from Rikers Island, CNBC (Mar. 24, 2020)
https://www.cnbc.com/2020/03/24/coronavirus-new-york-city-to-release-300-nonviolent-inmates-from-
rikers-island.html (last visited Apr. 1, 2020).



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Florida county, which includes Tampa, also reduced its local jail population of 2,700 by

releasing 6 percent, or 164 people, from the jail.89

        Supreme courts in several states have collaborated in or led the efforts to reduce jail

populations by issuing orders, demonstrating a growing consensus on the huge impact that the

virus has within detention facilities. The Chief Justice of New Jersey ordered the release of

approximately 1,000 individuals from New Jersey jails, which is nine percent of the population.90

South Carolina’s Chief Justice ordered the release of all individuals charged with a non-capital

offense on their own recognizance, unless the individual presents an unreasonable danger to the

community or is an extreme flight risk.91 Nearly 200 people were released pursuant to this

order.92 In Montana, the Chief Justice instructed his state’s judges to “review your jail rosters

and release, without bond, as many prisoners as you are able, especially those being held for

non-violent offenses.”93 In California, the Chief Justice instructed courts at sentencing or when




        89
           Thomas Metevia, , Hillsborough County to free non-violent inmates in effort to prevent
COVID-19 spread, , Click Orlando.com (Mar. 20, 2020), available at
https://www.clickorlando.com/news/local/2020/03/19/hillsborough-county-to-free-non-violent-inmates-
in-effort-to-prevent-covid-19-spread/ (last visited Apr. 1, 2020).
        90
          In re Request to Commute or Suspend County Jail Sentences, Dkt. No. 084230 (N.J. Mar. 22,
2020) (ordering the release of any inmate in New Jersey serving a county jail sentence as a condition of
probation or as a result of a municipal court conviction); see Tracey Tully, 1,000 Inmates Will Be
Released From N.J. Jails to Curb Coronavirus Risk, NYTimes (Mar. 23, 2020), available at
https://www.nytimes.com/2020/03/23/nyregion/coronavirus-nj-inmates-release.html (last visited Apr. 1,
2020).
        91
          Memorandum from Donald W. Beatty, Chief Justice of South Carolina Supreme Court, to
Magistrates, Municipal Judges, and Summary Court Staff (Mar. 16, 2020), available at
https://www.sccourts.org/whatsnew/displayWhatsNew.cfm?indexId=2461 (last visited Apr. 1, 2020).

         Kyle C. Barry, Some Supreme Courts Are Helping Shrink Jails To Stop Outbreaks. Others Are
        92

Lagging Behind, The Appeal (Mar. 25, 2020), available at https://theappeal.org/politicalreport/some-
supreme-courts-are-helping-shrink-jails-coronavirus/ (last visited Apr. 1, 2020).
        93
          Letter from Mike McGrath, Chief Justice of Montana Supreme Court, to Montana Courts of
Limited Jurisdiction Judges (Mar. 20, 2020), available at


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setting conditions of release to consider the person’s “existing health conditions” and any

“conditions existing at . . . the anticipated place of confinement that could affect the [person’s]

health.”94

        Recognizing the immediate threat of COVID-19 and the need to reduce the population of

Cook County Jail to limit the risk of jail detainees and staff being exposed to COVID-19 and

allow for people in the jail to practice social distancing, on March 23, 2020, Judge LeRoy Martin

in the Circuit Court of Cook County issued an order for an expedited bond process for specific

classes of defendants, including those charged with low-level felonies, those detained on a cash

bond they cannot afford, medically-vulnerable detainees, those serving a jail sentence, and those

locked up on a probation or parole violation warrant.95

IV.     IDOC and Governor Pritzker Are Failing to Take Necessary Precautions to Reduce
        the Spread of COVID-19 Within Prisons and Their Surrounding Communities,
        Placing People at an Increased Risk.

        The IDOC operates 28 adult correctional facilities throughout the State of Illinois and

houses around 37,000 individuals. There are 11,600 individuals employed by the IDOC.

        Illinois prisons are on the cusp of an outbreak, but there is still time for urgent and

decisive action that can prevent harm. The first confirmed cases of COVID-19 in IDOC occurred

on Wednesday, March 25, 2020—three prisoners and three staff tested positive for COVID-19,

and 10 additional prisoners were tested and were awaiting results.



https://courts.mt.gov/Portals/189/virus/Ltr%20to%20COLJ%20Judges%20re%20COVID-
19%20032020.pdf?ver=2020-03-20-115517-333 (last visited Apr. 1, 2020).

         Kyle C. Barry, Some Supreme Courts Are Helping Shrink Jails To Stop Outbreaks. Others Are
        94

Lagging Behind, The Appeal (Mar. 25, 2020), available at https://theappeal.org/politicalreport/some-
supreme-courts-are-helping-shrink-jails-coronavirus/ (last visited Apr. 1, 2020).
        95
          Matt Masterson, COVID-19 Case at Cook County Jail Prompts More Calls for Mass Detainee
Release, WTTW News (Mar. 23, 2020), available at https://news.wttw.com/2020/03/23/covid-19-case-
cook-county-jail-prompts-more-calls-mass-detainee-release (last visited Apr. 1, 2020).


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        As of April 1, 2020, there are 52 confirmed prisoners who have COVID-19 in two

different correctional centers (Stateville and North Lawndale ATC) and 25 confirmed staff who

have the virus in seven different correctional centers (Stateville NRC, Stateville, Sheridan, North

Lawndale ATC, Menard, Joliet Treatment Center, and Crossroads ATC).96 There are 187

additional prisoners who were tested and are awaiting results.97 However, the actual number of

individuals with COVID-19 in IDOC is likely much higher.

        On March 30, 2020, health officials announced that a prisoner in his 50s housed at

Stateville Correctional Center had died from COVID-19.98

        On March 26, 2020, the Governor acknowledged that “certain populations are at a higher

risk of experiencing more severe illness as a result of COVID-19, including older adults and

people who have serious chronic health conditions, such as heart disease, diabetes, lung disease

or other mental or physical conditions.”99 The Governor also acknowledged that “the vast

majority” of those housed within IDOC are in “close proximity and contact with each other in

housing units and dining halls,” making them “especially vulnerable to contracting and spreading

COVID-19.”100 The Governor further acknowledged that “the IDOC currently has limited

housing capacity to isolate and quarantine inmates who present as symptomatic of, or test



        96
          COVID-19 Response, Illinois Department of Correction,
https://www2.illinois.gov/idoc/facilities/Pages/Covid19Response.aspx (last visited April 1, 2020).
        97
             Id.
        98
           Emily Hoerner, Edlerly inmates are at high risk for coronavirus. Why are there so many of
them in Illinois’s prisons?, InjusticeWatch, available at
https://www.injusticewatch.org/news/2020/elderly-inmates-are-at-high-risk-for-coronavirus-why-are-
there-so-many-of-them-in-illinoiss-prisons/ (last visited Apr. 1, 2020).
        99
          Executive Order 2020-13 (March 26, 2020), https://www2.illinois.gov/IISNews/21288-
Gov._Pritzker_Stay_at_Home_Order.pdf (last visited Apr. 1, 2020).
        100
              Id.


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positive for, COVID-19.”101 The Governor stated that “to ensure that the Director of the IDOC

may take all necessary steps, consistent with public health guidance, to prevent the spread of

COVID-19 in the IDOC facilities and provide necessary healthcare to those impacted by

COVID-19, it is critical to limit any increases in the number of inmates in the IDOC

facilities.”102 In response, the Governor issued an emergency executive order that suspended

admissions of new prisoners from county jails.103 The Governor’s order, however, failed to

address the fact that hundreds of people will still come and go from the prisons every day, and

does not speed up and extend the release of any of the current population.

       Neither the Governor nor the IDOC have acted with the urgency or decisiveness that is

required to quell this oncoming crisis. The Governor has not taken any steps to substantially

reduce the population or expand IDOC’s ability to release, furlough, or transfer to home

detention even those who are medically vulnerable. IDOC has taken only limited steps to this

end, releasing far fewer than it could even in cases of those who are medically vulnerable and

close to the end of the incarceration period anyway.

       Even before COVID-19 entered IDOC, activists, community organizers, and civil rights

lawyers began advocating for de-population efforts in IDOC to curb the spread. On March 17,

2020, advocates sent a letter to Governor Pritzker urging him to order IDOC to release

individuals who can be released from custody in a way that is consistent with public safety. The

letter outlined a number of specific actions Governor Pritzker should take to protect the

vulnerable individuals in IDOC custody, as well as the staff who work there, including: (1)



       101
             Id.
       102
             Id.
       103
             Id.


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immediately ordering the release of individuals whose release dates are within 120 days; (2)

release all individuals in custody awaiting parole revocation hearings; (3) prioritize release for

any individuals whose release plans are pending host site approval; (4) order IDOC to stop

taking people into custody for parole violations unless they present a clear and present danger of

imminent physical harm, and rescind all parole warrants; (5) release individuals with viable

clemency petitions; (6) take all actions necessary to maximize good time credits; (7) evaluate

individuals who are pregnant, postpartum, or living with their infants in IDOC programs; (8)

evaluate individuals with HCU living assignments and chronic care needs for consideration of

early release; (9) take steps to limit intake into IDOC facilities; and (10) ensure that the IDOC

has the resources necessary to combat a possible COVID-19 outbreak in one or more IDOC

facilities.104

        Illinois law provides several established mechanisms for reducing the prison population,

all of which are available to the Governor and Director in this emergency. The Governor and

Director of IDOC have authority pursuant to various Illinois statues to reduce the population in

Illinois prisons. Pursuant to 730 ILCS 5/3-11-1(a)(2), the IDOC may release a person from

prison on medical furlough “to obtain medical, psychiatric or psychological services when

adequate services are not otherwise available.” The IDOC therefore has statutory authority to

release on medical furlough individuals who are medically vulnerable to COVID-19 either due to

age or pre-existing medical conditions.

        Pursuant to the Electronic Monitoring and Home Detention Law, 730 ILCS 5/5-8A-1 et

seq. (“Home Detention Law”), IDOC has the authority and obligation to implement procedures

through which eligible prisoners may serve a portion or all of their custodial sentence in home



        104
              Ex. 6 (Advocates’ March 17, 2020 Letter).


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detention. The Home Detention Law directs the Department to issue administrative directives to

allow for specifically enumerated categories of state prisoners to serve portions of their sentence

in home detention. Pursuant to 730 ILCS 5/5-8A-3(d), IDOC may place a prisoner in an

electronic monitoring or home detention program if that person is over 55 years old, has 12

months or less to serve on their sentence, has served at least 25% of their sentenced prison term,

and is serving a sentence for conviction of an offense other than for certain sex offenses.

       Pursuant to 730 ILCS 5/5-8A-3(e), IDOC may place a person of any age serving a

sentence for conviction of a Class 2, 3, or 4 felony offense which is not an excluded offense in an

electronic monitoring or home detention program at any time.

       Pursuant to 730 ILCS 5/5-8A-3(b) and (c), IDOC may place a person of any age serving

a sentence for conviction of a Class 1 or Class X felony offense, other than an excluded offense,

in an electronic monitoring or home detention program for a period not to exceed the last 90 days

of incarceration.

       Pursuant to the Administrative Code, 20 Ill. Adm. Code 107.210, the Director of IDOC

may award to eligible prisoners up to 180 days of discretionary good conduct credit.

       On March 23, 2020, advocates sent a detailed memo to the Governor’s office, setting

forth further details of who the IDOC could and should be releasing based on these relevant

statutes and administrative directives. This memo emphasized that IDOC should identify and

release as many individuals as possible who are medically vulnerable with regard to COVID-19

as well as people who are over the age of 55. The memo also urged the Governor’s Office to

order IDOC to immediately, inter alia: (1) transfer to home detention and electronic monitoring

all eligible people serving sentences for Class 2-4 felonies pursuant to 730 ILCS 5/5-8A-3(e); (2)

transfer to home detention and electronic monitoring all eligible people over the age of 55 who




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have less than 12 months left to serve on their sentence pursuant to 730 ILCS 5/5-8A-3(d); and

(3) award discretionary good time credit pursuant to 20 Ill. Adm. Code 107.210 to the furthest

extent possible to all eligible individuals to facilitate immediate and continuing releases.105

       Despite this pressure from advocates, and despite the Governor’s own admissions that

people in IDOC custody are especially vulnerable to contracting and spreading COVID-19, the

IDOC is not utilizing its authority with any degree of urgency to identify and release medically

vulnerable prisoners or prisoners who otherwise qualify for early release.

       On March 31, 2020, officials publicly announced that IDOC has released around 300

individuals—or less than one percent of the prison population.106 This number is far lower than

the population reduction needed to protect those who remain in custody and the surrounding

communities. Moreover, many who qualify for release and are medically vulnerable remain in

custody, including named plaintiffs here, putting their lives in jeopardy.

       Corrections expert Dan Pacholke has opined that IDOC should “determine who,

including those still housed in prisons, and those on work release, is within the categories . . .

that IDOC or other body has the legal authority to release or transfer, and establish objective

criteria, such as having an appropriate release address, to establish who could safely be released

or transferred to a non-prison setting, even though many might still remain in IDOC custody.

The criteria adopted should be designed to significantly reduce the prison population.”107




       105
             March 23 Letter, Exhibit 7.
       106
            The Governor’s Press Conferences are available for streaming at:
https://www.nbcchicago.com/news/local/watch-live-daily-coronavirus-briefing-from-illinois-health-
officials/2234359/ (last visited March 31, 2020).
       107
             Ex. 5 (Pacholke Decl.).


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        If IDOC does not act immediately to reduce its prison population, COVID-19 is likely

going to spread rapidly throughout IDOC, overburdening IDOC’s medical care program and

resulting in likely deaths.108

V.      IDOC’s Medical Care Program is Gravely Under-Resourced and Under-
        Functioning, and Is Not Capable of Managing COVID-19.

        Even before COVID-19, IDOC’s medical care program was ill-equipped to meet the

medical needs of prisoners in its care. For over a decade, IDOC has been mired in litigation over

its consistent failure to maintain a minimally adequate system. See Lippert v. Jeffreys, No. 10 cv

4603 (N.D. Ill.). In 2014 and again 2018, the Lippert court appointed teams of independent

experts to conduct exhaustive reviews of IDOC’s medical system, both of which exposed a

system in dire need of reform. In October 2018, the team of experts issued a 1200-page report,

reaching the following the conclusions:

        The clinical care provided within IDOC was “extremely poor” and “resulted in

preventable morbidity and mortality”; IDOC lacked an adequate infections disease control

program; IDOC’s Infectious Disease Coordinator position was vacant and had been vacant since

at least 2014; Systemic sanitation problems existed in at multiple IDOC facilities; IDOC’s

medical staff vacancy rates were “very high” and staffing was a “critical problem” throughout

IDOC; Physician staffing at IDOC was “very poor,” with “persistent and ongoing vacancies” in

site medical director positions, high rates of turnover, and an over-reliance on “traveling”

medical directors who go from site to site; and Physicians who worked at IDOC were improperly

credentialed, which was “a major factor in preventable morbidity and mortality” and

“significantly increase[ed] the risk of harm to patients within IDOC.”109


        108
              Ex. 3 (Haney Decl.).
        109
              Ex. 8 (Lippert Expert Report, October 2018) at 9-10, 21-31, 84-91.


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       Less than one year ago, IDOC agreed to a consent decree, which was approved and

entered by the Court in May 2019, to begin needed reforms. See Lippert v. Jeffreys, No. 10 cv

4603 (N.D. Ill.), Doc. No. 1238 (consent decree). The consent decree called for the appointment

of an independent monitor and a near complete overhaul of IDOC’s medical system.

       In the nine months since the Lippert consent decree was entered, IDOC has taken

preliminary steps to comply, but circumstances within the facilities remain largely unchanged.

IDOC is still only in early stages of developing a compliance plan. There has been no

meaningful on the ground change yet; facilities are still critically under-staffed and under-

resourced. IDOC is simply unable to adequately meet the serious medical needs of IDOC’s

population even under non-pandemic circumstances.

       Even before the COVID-19 outbreak, in November 2019, the Lippert court monitor

warned that the prevalence of elderly and infirm individuals in IDOC was straining the

system.110 Regarding this population, the monitor noted: “It is the position of the monitor that in

the short term additional IDOC resources must be directed to properly house and care for this

population but in the near future the IDOC must take the lead to create a pathway to discharge

those men and women whose mental and medical conditions make them no longer a risk to

society to appropriate settings in the community.”111

       Since the outbreak of COVID-19, IDOC administrators have issued memos to prisoners

notifying them that their medical resources were “stretched thin” and that they needed to focus

“on [their] most vulnerable patients at this time.”112



       110
             Ex. 9 (Lippert Court Monitor Report, November 24, 2019) at 9-10.
       111
             Id.
       112
             Ex. 10 (IDOC Memorandum, COVID-19 Response).


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        As of the date of this filing, there are 48 confirmed COVID-19 cases at Stateville, with

approximately 19 Stateville prisoners in outside hospitals—so many that they overwhelmed the

outside hospital that typically serves Stateville residents. The situation at Stateville is so grave

that the Governor had to activate Illinois National Guard service members to provide additional

medical support at the prison.113 At this point there are no confirmed prisoner cases at any other

prison, but there is no reason to believe that COVID-19 will not reach the other prisons.

Likewise there is no reason to believe that Stateville’s tragic outcome will not repeat itself at

other facilities. The time to act is now.

VI.     Many of the Named Plaintiffs Are Vulnerable Prisoners Who, If Exposed To the
        Virus, Would Likely Suffer Severe Illness or Death.

        As set forth in Plaintiff’s Complaint and motion for class certification, Plaintiffs seek to

represent a class of individuals in IDOC custody. They do not, however, seek relief for all class

members in this motion. Instead, Plaitiffs seek relief only for those class members who are

members of subclass 1 and subclass 2:

        Subclass 1: People who have serious underlying medical conditions that put them at

particular risk of serious harm or death from COVID-19, including but not limited to people with

respiratory conditions including chronic lung disease or moderate to severe asthma; people with

heart disease or other heart conditions; people who are immunocompromised as a result of

cancer, HIV/AIDS, or any other condition or related to treatment for a medical condition; people

with chronic liver or kidney disease or renal failure (including hepatitis and dialysis patients);

people with diabetes, epilepsy, hypertension, blood disorders (including sickle cell disease),



        113
            Tina Sfondeles, Illinois National Guard medics headed to Stateville as inmate coronavirus
cases rise, Chicago Suntimes (Apr. 1, 2020), available at
https://chicago.suntimes.com/coronavirus/2020/4/1/21202995/coronavirus-covid-19-illinois-prison-
stateville-national-guard-field-hospital (last visited Apr. 1, 2020).


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inherited metabolic disorders; people who have had or are at risk of stroke; and people with any

other condition specifically identified by CDC either now or in the future as being a particular

risk for severe illness and/or death caused by COVID-19, and who are eligible for medical

furlough pursuant to 730 ILCS 5/3-11-1.

       Subclass 2: People who are medically vulnerable to COVID-19 because they are 55

years of age and older and who are eligible for medical furlough pursuant to 730 ILCS 5/3-11-1.

       The men and women who are members of these subclasses have been convicted of one or

more crimes. But these individuals are also human beings, with mothers and daughters, fathers

and son, spouses and partners, or even simply friends on the outside who value them. And

because of their particular vulnerabilities, they face an imminent risk of severe illness or death if

they contract COVID-19. Those particularly vulnerable class members include, among others:

       James Money, a 28-year-old man who is housed at Illinois River Correctional Center in

Canton, Illinois. In 2016, Mr. Money was diagnosed with Stage 3 metastatic thyroid cancer. He

has undergone several surgeries, most recently in January 2020, resulting in the removal of over

80 lymph nodes and a full thyroidectomy, and is now immunocompromised. He was scheduled

to begin chemotherapy treatment on March 24, 2020, but IDOC cancelled his treatment,

presumably to focus instead on COVID-19. Mr. Money has already served nearly 5 years of his

sentence for residential burglary out of Adams County, and he is currently scheduled to be

released on June 19, 2020. He is eligible for medical furlough pursuant to 730 ILCS 5/3-11-1 and

discretionary good time pursuant to 20 Ill. Adm. Code 107.210. Mr. Money is also within 90

days of his release date, so he is eligible for transfer to home detention pursuant to 730 ILCS 5/5-

8A-3(b). Mr. Money’s parole conditions have already been determined and he is approved to




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reside with his fiancée’s residence in Warsaw, Illinois. His fiancée is fully prepared to provide

for his medical needs.

       William Richard, a 66 year-old man who lives in the healthcare unit at Dixon

Correctional Center. Mr. Richard has COPD, emphysema, and heart disease, and uses a

wheelchair for movement. His respiratory disease requires continuous oxygen and a breathing

treatment two to three times per day. He shares his roughly 12 feet by 15 feet cell with three

other individuals, making social distancing impossible—his bunk is less than 5 feet from his

cellmate’s bunk, and all four men share a toilet, sink, and the chuckhole through which they

receive their meals. Mr. Richard has less than four months remaining on his sentence, and is

eligible under 730 ILCS 5/5-8A-3(d) to transfer to home detention at his mother’s home.

       Gerald Reed, a 57-year-old man who is housed at the Northern Reception Center. Mr.

Reed has heart failure, hypertension, and is pre-diabetic. Mr. Reed uses a wheelchair for mobility

because of a decades-old leg injury that adversely affects his mobility. Within the last year, Mr.

Reed has been hospitalized for a heart attack and for pneumonia. At the NRC, he is prohibited

from accessing commissary and is only provided a single, small bar of soap. Pursuant to 730

ILCS 5/3-11-1, Mr. Reed is eligible for medical furlough at his mother’s home.

       Tewkunzi Green, a woman who currently is housed at Logan Correctional Center in

Lincoln, Illinois. She has asthma and severe hypertension for which she takes multiple

medications. In January 2019, she fainted related to hypertension and was held in the cardiology

unit of an off-site hospital for several days. At Logan, Ms. Green shares a room with three other

women. Ms. Green has a pending commutation petition, which was filed by the January 23,

2020, filing deadline; her hearing date of April 7, 2020 was postponed and she is now being

scheduled for a non-public hearing. She is also eligible for medical furlough under 730 ILCS




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5/3-11-1. Ms. Green has a stable housing plan in that her mother, who owns her own home in

Peoria, Illinois, where she also cares for Tewkunzi’s 13-year-old son, is willing and able to

receive Ms. Green at any time.

       Danny Labosette, a 56-year-old man who is currently housed at Robinson Correctional

Center in Robinson, Illinois. Mr. Labosette is a double amputee; his left leg has been amputated

above the knee, and his right foot has been amputated. Mr. Labosette uses a wheelchair. Mr.

Labosette also has untreated Hepatitis C. Mr. Labosette is housed in the Transitions Unit, a

treatment facility within Robinson Correctional Cell. Social distancing is impossible for Mr.

Labosette—he resides in a dorm with roughly 20 other men. He sleeps in the bottom bunk of a

bunk bed, which is 3 feet away from the neighboring beds. Mr. Labosette has less than six

months remaining on his sentence, and is eligible under 730 ILCS 5/5-8A-3(d) to be transferred

to home detention at his mother’s home in Florida, which has already been modified to

accommodate his disabilities.

       Carl Reed, a 59-year-old man who is currently housed at Graham Correctional Center in

Hillsboro, Illinois. Mr. Reed suffers from chronic kidney disease—requiring dialysis three days

per week—diabetes, hypertension, and underlying neurological impairments. A doctor who is an

expert in correctional health care has reviewed Mr. Reed’s medical records and recommends his

immediate release for Mr. Reed’s health and safety. Mr. Reed has eight years left on his

sentence, and he is eligible for medical furlough pursuant to 730 ILCS 5/3-11-1. He has a

pending petition for executive clemency, and he has a stable housing plan for his release: he can

live with his sister in Chicago.

       Carl “Tay Tay” Tate, a 40-year-old transgender woman diagnosed with Gender

Dysphoria, who is housed at Danville Correctional Center. Ms. Tate has almost six years left of




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her sentence to serve. Ms. Tate lives with hypertension, for which she takes medication. Ms. Tate

also lives with severe anxiety, and the COVID-19 outbreak has only increased her anxiety. She

shares a small cell with one other person. Even with current limits on the number of people in the

unit who are allowed out of their cells to use the communal dayroom, Ms. Tate estimates that

around 24 people may be in the dayroom at a time. She estimates that around 75 people may be

in the yard. Ms. Tate also works as a laundry porter, which places her in frequent contact with

other prisoners and staff. She has asked for gloves to use, and has been denied. She has also

asked for more cleaning supplies to clean the dayroom, including the phones, and has been

denied. It is impossible for Ms. Tate to practice social distancing in her living situation. Ms. Tate

has a pending clemency petition—which has the support of 40 organizations across the state—

and her hearing date of April 7, 2020 was postponed and is being rescheduled. Ms. Tate has a

stable housing plan in place for when she is released: she will live with her sister who resides in

Lansing, Illinois.

       These Named Plaintiffs, all of whom face particular risks when a COVID-19 outbreak

occurs in their facility, represent other prisoners who, like them, are eligible for temporary

medical furlough so that they can self-isolate.

                                  NOTICE TO DEFENDANTS

       On April 1, 2020, counsel for Plaintiffs gave notice of their intent to file this action to the

Office of the Governor, Chief Legal, Chief Legal Counsel for the IDOC, and the Office of the

Attorney General.




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                                           ARGUMENT

       Plaintiffs are prisoners in the custody of the State of Illinois, and subclasses 1 and 2, for

whom they seek relief, are prisoners who are especially vulnerable to COVID-19 because of

their advanced age or underlying medical conditions. Although the larger world has taken radical

steps to contain this disease, the Plaintiffs are powerless to adopt even simple protective

measures to remain safe. Under current conditions, it is overwhelmingly likely that thousands of

prisoners will contract a lethal virus with no cure. Without urgent action, countless prisoners will

become seriously ill or die within a matter of weeks or months. The Plaintiffs therefore request

that the Court grant a temporary restraining order or a permanent injunction to allow them to

self-isolate at home via temporary medical furlough.

       A plaintiff seeking a preliminary injunction or temporary restraining order “must

establish that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in

the absence of preliminary relief, that the balance of equities tips in his favor, and that an

injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008);

Michigan v. U.S. Army Corps of Eng’rs, 667 F.3d 765, 769 (7th Cir. 2011).

       With regard to the first factor, “[f]or purposes of a TRO or preliminary injunction, a

plaintiff need only establish a ‘trivial chance of succeeding on the merits.’” Frullati Franchise

Sys., Inc. v. Dana Areece & Co., 2001 WL 743427, at *2 (N.D. Ill. June 28, 2001) (quoting

Green River Bottling Co. v. Green River Corp., 997 F.2d 359, 361 (7th Cir. 1993)); see also

Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1046 (7th Cir. 2017)

(a party moving for a preliminary injunction need “only show that his chances to succeed on his

claims are better than negligible” (internal quotation marks omitted)). In addition, “the more

likely a plaintiff’s success on the merits, the less the balance of harms needs to favor its side to




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justify relief, while a greater showing that the balance of harms favors the plaintiff may offset a

lower probability of success on the [merits].” Aon Risk Servs. Cos. v. Alliant Ins. Servs., Inc., 415

F. Supp. 3d 843, 847 (N.D. Ill. 2019); see also Hoosier Energy Rural Elec. Co-op., Inc. v. John

Hancock Life Ins. Co., 582 F.3d 721, 725 (7th Cir. 2009) (“How strong a claim on the merits is

enough depends on the balance of harms: the more net harm an injunction can prevent, the

weaker the plaintiff’s claim on the merits can be while still supporting some preliminary relief.”).

       Once a plaintiff demonstrates entitlement to preliminary relief, courts have broad power

to fashion equitable remedies to address constitutional violations in prisons. Hutto v. Finney, 437

U.S. 678, 687 n.9 (1978). And although courts must “be sensitive to the State’s interest[s]” in

imprisonment, courts “must not shrink from their obligation to enforce the constitutional rights

of all persons, including prisoners [and] . . . may not allow constitutional violations to continue

simply because a remedy would involve intrusion into the realm of prison administration.”

Brown v. Plata, 563 U.S. 493, 511 (2011).

       Action by this Court is necessary here. There is no vaccine or cure for COVID-19. And

the conditions at IDOC inherently make social distancing and other imperative protective

measures impossible. As such, the only way to protect against the imminent risk of substantial

harm and possible death for the two subclasses of prisoners who are most vulnerable to the

virus—people with serious underlying medical conditions eligible for medical furlough, and

people over the age of 55 eligible for medical furlough—is to immediately transfer them on

temporary medical furlough to their homes to shelter in place before they contract the virus.

Injunctive relief is necessary because the danger here, vulnerable people condemned to

prolonged illness and potential death, is the quintessential irreparable harm. See, e.g., Jones’El v.

Berge, 164 F. Supp. 2d 1096 (W.D. Wisc. 2001) (“[P]ain, suffering and the risk of death




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constitute ‘irreparable harm’ sufficient to support a preliminary injunction in prison cases.”).

There is also an overwhelming public interest in limiting the spread of COVID-19, both to

minimize further infections and to reduce strain on overwhelmed health systems. And, in light of

the global COVID-19 pandemic, the balance of equities weighs heavily in favor of the

vulnerable prisoners, who must be transferred on medical furlough to their homes to self-isolate,

and against Defendants’ interest in indefinitely confining the Plaintiffs in life-threatening

conditions. This Court should order that people with serious underlying medical conditions

eligible for medical furlough, and people over the age of 55 eligible for medical furlough be

immediately transferred on medical furlough to home confinement.

I.     Plaintiffs Are Likely to Succeed on the Merits of Establishing a Constitutional
       Violation.

       Plaintiffs are likely to establish that their conditions of confinement in IDOC custody

place them at substantial risk of harm from COVID-19, in violation of their Eighth Amendment

rights. Additionally, Plaintiffs are likely to also establish that the denial of medical furlough or

home detention placement to subclass members who are medically vulnerable to COVID-19

(subclass 1), placing them at significant and disparate harm’s way is a violation of the Americans

with Disabilities Act.

       A.      Plaintiffs Are Likely to Succeed on the Merits on Their Constitutional
               Claims.

       Plaintiffs are likely to establish that their conditions of confinement in IDOC custody

render them at substantial risk of contracting COVID-19 and suffering prolonged injury and

possible death. The Supreme Court has long held that when state officials “strip [prisoners] of

virtually every means of self-protection and foreclose[] their access to outside aid, [they] are not

free to let the state of nature take its course.” Farmer v. Brennan, 511 U.S. 825, 833 (1994).




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State officials instead have a responsibility under the Eighth Amendment to “take reasonable

measures to guarantee the safety of the inmates . . . .” Id. at 832. The Seventh Circuit has held

that the Eighth Amendment is violated by the conditions of a prisoner’s confinement when

“(1) there is a deprivation that is, from an objective standpoint, sufficiently serious that it results

in the denial of the minimal civilized measure of life’s necessities, and (2) where prison officials

are deliberately indifferent to this state of affairs.” Gray v. Hardy, 826 F.3d 1000, 1005 (7th Cir.

2016) (internal quotation marks omitted).

        In Helling v. McKinney, 509 U.S. 25 (1993), the Supreme Court held that the Eighth

Amendment forbids deliberate indifference to conditions that “pose an unreasonable risk of

serious damage to . . . future health.” Id. at 35. The Supreme Court in Helling addressed

exposure to secondhand smoke, but it recognized that “deliberate indifference to the exposure of

inmates to a serious, communicable disease” would similarly violate the Eighth Amendment,

even if a prisoner currently shows no serious symptoms. Id. at 33. The Seventh Circuit has

similarly recognized that the Eighth Amendment protects prisoners from known exposure to

serious diseases, holding that in such a circumstance, “[t]he prison must be allowed to choose

between removing the prisoner from the unhealthy environment and protecting him from its

consequences . . . provided, of course, that the protection is efficacious.” Powers v. Snyder, 484

F.3d 929, 931 (7th Cir. 2007); see also McDonald v. Hardy, 821 F.3d 882, 889 (7th Cir. 2016)

(explaining that the Eighth Amendment does not excuse deliberate indifference simply because

harms “have not yet reached the point of causing acute or life-threatening injuries”).

        The Plaintiffs in this case are being detained in conditions that dramatically increase the

likelihood that they will contract COVID-19 and fall seriously ill because they cannot maintain

adequate social distancing as mandated by the CDC. Plaintiffs are housed in close quarters,




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forced to eat, sleep, bathe, and perform all daily life activities in a communal setting. Ex. 1

(Greifinger Decl.) ¶¶ 16-18; Ex. 3 (Haney Decl.) ¶ 6; Ex. 4 (Beyrer Decl.) ¶¶ 11-14. Illinois

Department of Public Health (IDPH) Director Dr. Ngozi Ezike acknowledged that IDOC prisons

are “[c]ongregate settings” where individuals “live and work and eat and study and recreate all

within the same environment, heightening the potential for COVID-19 to spread really quickly

once it’s introduced.” Dr. Ngozi Ezike, IDPH, COVID-19 Press Update, 23:30–23:48 (Mar. 30,

2020), available at http://www.dph.illinois.gov/topics-services/diseases-and-conditions/diseases-

a-z-list/coronavirus/media-publications/daily-press-briefings (last visited Apr. 1, 2020). The risks

posed by IDOC’s congregate settings are exacerbated by lack of access to Personal Protective

Equipment (PPE) for prisoners and many staff members, Ex. 1 (Greifinger Decl.) ¶¶ 19-21, 23),

poor ventilation, Ex. 2 (Meyer Decl.) ¶ 9; Ex. 4 (Beyrer Decl.) ¶ 14, and a lack of per-use

cleaning of shared items like toilets, sinks, and showers, which are almost always accessed by

numerous individuals before they are sanitized. Ex. 1 (Greifinger Decl.) ¶ 17; Ex. 2 (Meyer

Decl.) ¶ 9; Ex. 4 (Beyrer Decl.) ¶ 14; Ex. 3 (Haney Decl.) ¶ 8.

       Prisoners simply cannot maintain proper social distancing given the nature of Illinois’s

facilities, whether housed with large numbers of people like Plaintiff Labosette (who is housed in

a 20-person dorm), in a small cell with fewer people in close proximity like Plaintiff Richard (in

a small four-person cell in the healthcare unit), or in a two-person cell, like Plaintiff Tate (who is

never more than few feet from her cellmate). Prisoners share their dayrooms and showers, and

must rely on multiple staff to prepare and deliver their meals and medications. Plaintiffs are at

the mercy of security and medical staff, who may carry the virus without showing symptoms,

and who often are not able to take even simple precautions like wearing face masks and

disposable gloves. See generally Ex. 11 (Declarations from Class Members’ Loved Ones); see




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also Dr. Ngozi Ezike, IDPH, COVID-19 Press Update Video, at 11:33-11:56 (Mar. 29, 2020),

available at http://www.dph.illinois.gov/topics-services/diseases-and-conditions/diseases-a-z-

list/coronavirus/media-publications/daily-press-briefings (“As a former medical director in a

correctional facility, I know all too well about the traffic of staff going in and out of the facilities

daily, detained individuals leaving for court appearances, and the rate of turnover . . . all of these

comingle and increase the rate of infection and its fast spread through these facilities.”) (last

visited Apr. 1, 2020); (Greifinger Decl. ¶ 18) (“Staff arrive and leave on a shift basis; there is

little to no ability to adequately screen staff for new, asymptomatic infection.”).

         Plaintiffs are themselves at an especially high risk of harm from the virus due to the high

rates of chronic health conditions, substance use, and mental health issues within the class. Ex. 3

(Haney Decl.) ¶ 7; Ex. 4 (Beyrer Decl.) ¶ 16. And history teaches that when an epidemic occurs

nationally, people in custody experience a disproportionately high number of cases. Ex. 2 (Meyer

Decl.) ¶ 19. At Rikers’ Island, for example, the infection rate is nearly eight times the rate of

infection for New York City, and 73 times higher than the national infection rate. See COVID-19

Infection Tracking in NYC Jails, Legal Aid Society, available at

https://www.legalaidnyc.org/covid-19-infection-tracking-in-nyc-jails/ (last visited Mar. 31,

2020).

         COVID-19 is already in IDOC facilities across the state: 25 IDOC employees have tested

positive, 52 IDOC prisoners have tested positive, and 187 tests remain outstanding. See COVID-

19 Response, IDOC, https://www2.illinois.gov/idoc/facilities/Pages/Covid19Response.aspx (last

visited Apr. 1, 2020). That number has increased by double each day over the past week since

the first positive test was announced on March 26. And all of the evidence indicates that the

number of individuals with COVID-19 will increase by multiples in the coming days and weeks.




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       Under these circumstances, the two subclasses for which relief is sought in this motion—

people with serious underlying medical conditions eligible for medical furlough, and people over

the age of 55 eligible for medical furlough—are especially likely to succeed on the merits of

their claims given their susceptibility to COVID-19. These vulnerable prisoners face a near-

certain risk of serious illness and possible death if and when they contract the virus in IDOC

custody.

       Elderly prisoners and those with underlying medical conditions typically experience

COVID-19 symptoms more severely and are far more likely to develop complications as a result

of the virus. Ex. 1 (Greifinger Decl.) at ¶¶ 4–5, 8. Prisoners over the age of 55 without any

underlying medical conditions face a 1.3–8% mortality rate. And as noted above, vulnerable

prisoners who suffer from cardiovascular disease face a 13.2% mortality rate, hypertensive

prisoners face an 8.4% mortality rate, and prisoners with chronic respiratory disease face an

8.0% mortality rate. In other words, a prisoner suffering from cardiovascular disease who

contracts COVID-19 faces roughly the same odds of survival as he would playing Russian

roulette. Additionally, individuals with certain conditions, such as those that affect the immune

system, are also more likely to contract the disease.

       Federal courts across the country have granted temporary restraining orders brought on

behalf of vulnerable individuals in custody. See, e.g., Thaker, et al. v. Doll, et al., No. 20 C 0480,

Dkt. 47 (M.D. Pa. Mar. 31, 2020); Coronel, et al. v. Decker, et al., No. 20 C 2472, Dkt. 26

(S.D.N.Y. Mar. 27, 2020); Basank, et al. v. Decker, et al., No. 20 C 2518, Dkt. 11 (S.D.N.Y.

Mar. 26, 2020); Flores, et al. v. Barr, et al., No. 85 C 4544, Dkt. 740 (Mar. 28, 2020). In Thaker,

the district court recognized that “the status quo of a mere few weeks ago no longer applies. Our

world has been altered with lightning speed, and the results are both unprecedented and




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ghastly . . . . The choice we now make must reflect this new reality.” Thaker, No. 20 C 0480,

Dkt. 47 at 24. The district court found that even though the conditions in the local federal

detention facilities were not insufficient because of intent or malice, “should we fail to afford

relief” to medically vulnerable prisoners “we will be a party to an unconscionable and possibly

barbaric result.” Id.; see also id. (“Our Constitution and laws apply equally to the most

vulnerable among us, particularly when matters of public health are at issue.”). The district court

accordingly granted a temporary restraining order requiring the immediate release of 11

prisoners in federal custody who suffer from chronic medical conditions and face a serious threat

of injury or death if exposed to COVID-19. Id. at 2, 24–25.

        Simply put, Plaintiffs are sitting in tinderboxes throughout the State of Illinois.

Defendants are aware of this fact, and they are also aware that the only way to protect the

vulnerable prisoners for whom relief is requested from serious harm is to immediately transfer

them to their homes through a medical furlough to shelter in place. As discussed, the evidence in

support is overwhelming. Powers, 484 F.3d at 931. Under Illinois law, Defendants have

unlimited ability to act, 730 ILCS 5/3-11-1(a)(2), but have chosen instead to leave 99.2% of

individuals in IDOC custody in their tinderboxes to suffer.114 Such a failure to meaningfully act

in the face of an unprecedented pandemic that is killing thousands is clear indifference that

leaves Plaintiffs—and particularly the vulnerable Plaintiffs for whom emergency relief is

sought—at imminent risk of serious harm and death.




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   In relevant part, 730 ILCS 5/3-11-1 allows the IDOC to “extend the limits of the place of confinement
of a committed person under prescribed conditions so that he may leave such place on furlough.” 730
ILCS 5/3-11-1(a). Furlough may be granted for many reasons, including “obtain[ing] medical, psychiatric
or psychological services when adequate services are not otherwise available . . . .” 730 ILCS 5/3-11-
1(a)(2).


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        B.     Plaintiffs Are Likely to Succeed on the Merits on Their ADA Claims for
               Subclass 1.

        Defendants’ failure to place prisoners with underlying medical conditions that make them

particularly vulnerable to COVID-19 on furlough or home detention, where they could

quarantine safely, is discrimination within the meaning of the Americans with Disabilities Act

(ADA). IDOC is failing to provide a reasonable accommodation that is readily available and that

would avoid the disparate impact (increased risk of infection, medical complications, and death)

that will occur if IDOC continues to keep these medically vulnerable people in the prison

facilities.

        The ADA prohibits public entities, including state prisons, from discriminating on the

basis of disability. Under the ADA, “no qualified individual with a disability shall, by reason of

such disability, be excluded from participation in or be denied the benefits of the services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

42 U.S.C. § 12132. Discrimination includes failing to make reasonable modifications (also

termed “reasonable accommodations”) that would allow a person with a disability to participate

in a service, program or activity. 28 C.F.R. § 35.130(b)(7). “Program or activity” under Title II

“applies to anything a public entity does.” Oconomowoc Residential Programs, Inc. v. City of

Milwaukee, 300 F.3d 775, 782 (7th Cir. 2002).

        Subclass 1 plaintiffs, those who have serious medical conditions that make them

particularly vulnerable to COVID-19, are qualified individuals with disabilities under the ADA.

The ADA defines disability as having an impairment that substantially limit “major life

activities.” 42 U.S.C. § 12102(2). “Major life activities” include “the operation of a major bodily

function, including but not limited to, functions of the immune system, normal cell growth,

digestive, bowel, bladder, neurological, brain, respiratory, circulatory, endocrine, and



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reproductive functions.” Id. By definition, they have substantial physical impairments that

already constitute disabilities under the ADA. By virtue of being incarcerated, they are qualified

for the “program and service” of IDOC at issue, which is the safe care that IDOC has a duty to

provide to those in custody. That safety is denied in this pandemic by IDOC’s failure to provide

them with the available accommodation of furlough or home detention.

        Defendants are violating Title II of the ADA by holding subclass 1 plaintiffs in unduly

dangerous conditions that place them at a disproportionate risk of medical complication and

death despite the availability of a readily available modifications that would allow them to safely

quarantine through furlough or home detention. In this regard, and for all the same reasons are

described above relating to Plaintiffs’ Eighth Amendment claims, Plaintiffs are likely to succeed

on the merits of their ADA discrimination claim, under theories of either denial of reasonable

accommodations or disparate impact.

                1.      The IDOC Must Provide Reasonable Modifications to Prevent
                        Discrimination Against People With Disabilities (Subclass 1).

        The Department of Corrections is a public entity required to make reasonable

accommodations in order to avoid discrimination on the basis of disability. See, e.g., Pa. Dep’t of

Corrs. v. Yeskey, 524 U.S. 206, 210 (1998). The regulations implementing Title II of the ADA

require that a public entity:

        make reasonable modifications in policies, practices, or procedures when the
        modifications are necessary to avoid discrimination on the basis of disability, unless the
        public entity can demonstrate that making the modifications would fundamentally alter
        the nature of the service, program, or activity.

28 C.F.R. § 35.130(b)(7).

        The Seventh Circuit has held that public entities have an independent duty to take

“prophylactic” steps to accommodate individuals with disabilities when necessary to avoid




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discrimination. Wisc. Cmty. Servs., Inc. v. City of Milwaukee, 465 F.3d 737, 753 (7th Cir. 2006).

In other words, a plaintiff can “demonstrate discrimination on the basis of disability by [the

City’s] refusal to make a reasonable accommodation.” Washington v. Ind. High Sch. Athletic

Ass’n, Inc., 181 F.3d 840, 848 (7th Cir. 1999). See also McCoy v. Tex. Dep’t Crim. Justice, 2006

WL 2331055, at *7 and n. 6 (S.D. Tex. Aug. 9, 2006) (“failure to make reasonable

accommodations to the needs of a disabled prisoner may have the effect of discriminating against

that prisoner because the lack of an accommodation may cause the disabled prisoner to suffer

more pain and punishment than non-disabled prisoners.”).

                2.      The IDOC Must Provide the Reasonable Modifications to Avoid the
                        Disparate Harm to People With Disabilities (Subclasses 1 and 2).

        A disparate impact violation occurs where the entity, here IDOC, “adopt[ed] a policy or

practice that is ‘facially neutral in [its] treatment of different groups but that in fact fall[s] more

harshly on one group than another and cannot be justified by [a nondiscriminatory] necessity.’”

Swan v. Bd. of Educ., No. 13 C 3623, 2013 WL 3872799, at *5 (N.D. Ill. July 25, 2013) (citing

Raytheon Co. v. Hernandez, 540 U.S. 44, 52 (2003)).

        While Defendants’ COVID-19 practice relating to release and transfer is neutral on its

face, it causes far more suffering and harm to prisoners who are medically vulnerable than to

those who are not. See McCoy v. Tex. Dep’t Crim. Justice, 2006 WL 2331055, at *7 n.6 (S.D.

Tex. Aug. 9, 2006) (“failure to make reasonable accommodations to the needs of a disabled

prisoner may have the effect of discriminating against that prisoner because the lack of an

accommodation may cause the disabled prisoner to suffer more pain and punishment than the

non-disabled prisoner.”).




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II.     Infection With a Lethal Virus That Lacks Any Vaccine or Cure Constitutes
        Irreparable Harm.

        Plaintiffs have moved for a temporary restraining order and preliminary injunction for

those prisoners who are most vulnerable because the difference of even just a few days is a

matter of life and death. Cases of COVID-19 have increased exponentially in a matter of weeks.

See supra pg. 4. And the virus has already spread to detention facilities throughout the state.

        Given the deadliness of the disease and the state’s already over-taxed medical system,

there is a substantial possibility that absent immediate relief from the Court, vulnerable prisoners

will be infected with COVID-19. And these vulnerable Plaintiffs are older adults or people with

pre-existing medical conditions that increase the likelihood of severe illness or death if they

contract COVID-19. For some of these vulnerable people, their chances of survival are

approximately the same as the chance of survival while playing Russian roulette. Even for those

who survive infection, there may be a prolonged recovery, including the need for extensive

rehabilitation, neurological damage, and the loss of respiratory capacity.

        These life-and-death stakes are sufficient to establish a likelihood of irreparable harm in

support of injunctive relief. Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S., Inc., 549

F.3d 1079, 1090 (7th Cir. 2008) (irreparable harm means that the plaintiff cannot be “prevented

or fully rectified by the final judgment after trial”); Orr v. Shicker, ___ F.3d ___, 2020 WL

1329659, at *9 (7th Cir. Mar. 23, 2020) (irreparable harm is that which “cannot be repaired and

for which money compensation is inadequate” (internal quotation marks omitted)). “The

existence of a continuing constitutional violation constitutes proof of an irreparable harm.”

Preston v. Thompson, 589 F.2d 300, 303 n.3 (7th Cir. 1978) (affirming grant of preliminary

injunction in prison conditions case); Jones’El v. Burge, 164 F. Supp. 2d 1096, 1123 (W.D. Wis.

2001) (“Put more specifically, pain, suffering and the risk of death constitute irreparable harm



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sufficient to support a preliminary injunction in prison cases.” (internal quotation marks

omitted)).

       Even the failure to test for a disease has been sufficient to support a finding of irreparable

harm. See Boone v. Brown, 2005 WL 2006997, at *14 (D.N.J. Aug. 22, 2005) (allegation of

refusal to provide adequate testing for highly contagious infectious disease sufficient to

demonstrate irreparable harm); Austin v. Pa. Dep’t of Corr., 1992 WL 277511, at *7 (E.D. Pa.

Sept. 29, 1992) (granting preliminary injunction for prison to develop testing and protocol for

Tuberculosis); see also Jolly v. Coughlin, 76 F.3d 468, 477 (2d Cir. 1996) (state officials have an

affirmative obligation to protect prisoners from infectious disease).

       The risks here are even more extreme, and the IDOC’s ongoing failure to provide

conditions that allow people in its custody to perform the CDC-mandated protective measures,

including social distancing, risks irreparable harm to Plaintiffs. See Jones’El, 164 F. Supp. 2d at

1125-26 (recognizing that constitutionally inadequate conditions at supermax justified granting

injunctive relief). The Constitution does not require that the vulnerable Plaintiffs whose request

for relief is at issue in this motion wait until they have contracted or been exposed to COVID-19

before obtaining injunctive relief. Thaker, Dkt. 47 at 8 (“Petitioners face the inexorable

progression of a global pandemic creeping across our nation—a pandemic to which they are

particularly vulnerable to due to age and underlying medical conditions. At this point, it is not a

matter of if COVID-19 will enter Pennsylvania prisoners, but when it is finally detected

therein.”); Coronel, Dkt. 26 at 5 (“Due to their serious underlying medical conditions, all

Petitioners face a risk of severe, irreparable harm if they contract COVID-19.”).

       A review of the medical conditions suffered by several of the Named Plaintiffs

demonstrates the irreparable harm these vulnerable prisoners will face if this Court does not




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grant them relief. Plaintiff Money, for example, suffers from Stage 3 metastatic thyroid cancer

that renders him immunocompromised. Plaintiff Richard requires the use of a wheelchair and

suffers from COPD, emphysema, and heart disease. Plaintiff Gerald Reed also requires the use of

a wheelchair, and simultaneously suffers from hypertension and heart disease. Plaintiff Green

suffers from severe respiratory and cardiovascular disease. Plaintiff Carl Reed suffers from

chronic kidney disease and other ailments, including diabetes and hypertension, that render him

medically vulnerable. Each one of these Named Plaintiffs, and several other unnamed putative

class members, suffer an imminent risk of severe illness or death when a COVID-19 positive

individual comes into the prison. Simply put, their lives are on the line and the harm they face is

clearly irreparable.

III.     There is a Strong Public Interest in Minimizing the Spread of COVID-19 Through
         Social Distancing and Hygiene Practices That Are Impossible in IDOC Prisons.

         It is always in the public interest to prevent the continuing violation of a plaintiff’s

constitutional rights. See Joelner v. Vill. of Washington Park, Ill., 378 F.3d 613, 620 (7th Cir.

2004) (“[s]urely upholding constitutional rights serves the public interest) (quoting Newsom v.

Albemarle County Sch. Bd., 354 F.3d 249, 261 (4th Cir.2003)); see also Preston, 589 F.2d at 303

n. 3 (“[t]he existence of a continuing constitutional violation constitutes proof of an irreparable

harm, and its remedy certainly would serve the public interest.”). And in this case the public

interest in minimizing the spread of COVID-19 is overwhelming and nearly impossible to

overstate.

         As noted above, COVID-19 is highly contagious and has substantially higher mortality

rates than any other disease with its rate of transmission. The disease has no vaccine or cure,

meaning that each new infection may result in several more individuals becoming infected.

Public health experts have thus unanimously agreed that the most critical actions that can be



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taken are preventive measures like self-isolating, maintaining a distance of six feet from all other

individuals, and frequent disinfection.

       These measures are simply not possible within the confines of IDOC’s prisons, which are

inherently congregate settings that require close interactions between individuals, both prisoners

and staff, throughout each day. Even attempts at sanitization within the IDOC risk the spread of

COVID-19, since staff are only able to provide prisoners with buckets of watered down to clear

their cells, and those buckets are passed between cells, from prisoner to prisoner. Prisoners are

thus destined to become vectors of disease, and will inevitably infect several other prisoners,

IDOC employees, prison medical staff, and eventually, healthcare workers in the community

when critically infected prisoners are sent to nearby hospitals to be treated. The results will be

devastating for the dozens of Illinois communities where IDOC prisons are located, and are a

needless consequence of the conditions of confinement within the IDOC itself.

       The situation at Stateville demonstrates this fact. IDOC announced its first confirmed

case at Stateville on Wednesday, March 25, 2020. IDPH, Public Health Officials Announce 330

New Cases of Coronavirus Disease, (Mar. 25, 2020), available at

http://www.dph.illinois.gov/news/public-health-officials-announce-330-new-cases-coronavirus-

disease (last visited Apr. 1, 2020). Just five days later, IDPH Direct Dr. Ezike announced that 12

prisoners had been hospitalized with confirmed cases of COVID-19, with another 77 prisoners

suffering symptoms of the virus. IDPH, Public Health Officials Announce 461 New Cases of

Coronavirus Disease, (Mar. 30, 2020), available at http://www.dph.illinois.gov/news/public-

health-officials-announce-461-new-cases-coronavirus-disease. The following day, Governor

Pritzker announced that at least one prisoner had died from the virus. Emily Hoerner, Edlerly

inmates are at high risk for coronavirus. Why are there so many of them in Illinois’s prisons?,




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InjusticeWatch, available at https://www.injusticewatch.org/news/2020/elderly-inmates-are-at-

high-risk-for-coronavirus-why-are-there-so-many-of-them-in-illinoiss-prisons/ (last visited Apr.

1, 2020). St. Joseph Hospital, the community hospital where Stateville prisoners with the disease

had been taken, announced it was “overwhelmed” by individuals from Stateville, and that staff

were already “maxed out.” Chuck Goudie and Barb Markoff, Illinois Prisoners Sick with

COVID-19 “Overwhelm” Joliet Hospital, ABC 7 NEWS, (Mar. 30, 2020), available at

https://abc7chicago.com/health/illinois-prisoners-sick-with-covid-19-overwhelm-joliet-

hospital/6064085/ (last visited Apr. 1, 2020). As of the date of this motion, 64 individuals who

live and work at Stateville have tested positive for COVID-19, and hundreds of lab results

remain outstanding. See COVID-19 Response, IDOC,

https://www2.illinois.gov/idoc/facilities/Pages/Covid19Response.aspx (last visited Apr. 1, 2020).

        The vulnerable prisoners at issue in this motion—prisoners with underlying medical

conditions and those over the age of 55—are most likely to require hospitalization if and when

they contract COVID-19 while in custody. It is essential to the public interest to permit these

prisoners to return to their home through a temporary medical furlough to drastically reduce their

risk of contracting the virus and overwhelming the State of Illinois’s medical system. And the

public interest is further served by the medical furloughs because it allows for all of the

remaining Plaintiffs to practice greater social distancing and because it prevents overloading the

work of detention staff, whose resources are already strained.

IV.     The Balance of Equities Favors Releasing Vulnerable Plaintiffs Over Continued
        Detention in the Midst of this Public Health Crisis.

        The balance of equities weighs in favor of ordering vulnerable prisoners—those with

underlying medical conditions and those over the age of 55—to be transferred to their homes via

a temporary medical furlough to self-isolate until the pressing risk of this pandemic has passed.



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Plaintiffs acknowledge that they are in custody after having been found guilty of committing a

crime, and accordingly do not seek their release. Instead, Plaintiffs ask simply that these

particularly vulnerable individuals be transferred to their homes while still in IDOC custody

being monitored via electronic monitoring to self-isolate until the emergency abates.

       As the district court in Thaker noted, “the status quo of a mere few weeks ago no longer

applies.” Dkt. 47 at 24. These vulnerable prisoners’ lives are on the line, as are the lives of the

members of the community who face greater exposure as a result of the prisoners continued

detention. These facts outweigh the Defendants’ interests in retribution through incarceration in a

place of their choosing. Defendants have already released some individuals through medical

furloughs and transfer to home detention and electronic monitoring, demonstrating their ability

to identify and place individuals in safe homesites even during this public health emergency.

       Plaintiffs anticipate that Defendants will argue that a balance of equities does not favor

Plaintiffs’ request because it poses a public safety risk. Again, Plaintiffs do not ask this Court to

release any individuals from IDOC custody. And although ensuring that these individuals return

to custody once the pandemic abates is important, the risk of absconding is low. Many of these

vulnerable prisoners lack the physical ability to abscond, and electronic monitoring helps to

ensure that the individuals for whom Plaintiffs seek release will remain safely in their homes.

The restricted state of travel within the United States and the around world during this pandemic

makes the probability that prisoners will abscond even lower still.

       For the vulnerable prisoners seeking relief—prisoners with underlying medical

conditions who face a particular risk of severe illness and death from exposure to COVID-19,

and those who are medically vulnerable because of their age—Plaintiffs’ request is a matter of

life and death. The balance of the equities in this case favors life.




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 V.     This Court Should Not Require Plaintiffs to Provide Security Prior to Issuing a
        Temporary Restraining Order.

        Under Rule 65(c) of the Federal Rules of Civil Procedure, district courts have discretion

to determine the amount of the bond accompanying a preliminary injunction, and this includes

the authority to set a nominal bond. In this case, the Court should waive bond because Plaintiffs

are indigent, the requested preliminary injunction is in the public interest, and the injunction is

necessary to vindicate constitutional rights. See Pocklington v. O'Leary, 1986 WL 5748, at *2

(N.D. Ill. May 6, 1986) (“[B]ecause of [a prisoner’s] indigent status, no bond under Rule 65(c) is

required.”); Davis v. Mineta, 302 F.3d 1104, 1126 (10th Cir. 2002) (“minimal bond amount

should be considered” in public interest case); Complete Angler, L.L.C. v. City of Clearwater,

607 F.Supp.2d 1326, 1335 (M.D. Fla. 2009) (“Waiving the bond requirement is particularly

appropriate where a plaintiff alleges the infringement of a fundamental constitutional right.”).

                                           CONCLUSION

        The country faces a public health crisis of epic proportions. COVID-19 presents risks to

all of us, and has forced us to come together to make tough decisions that are necessary to reduce

the number of fatalities caused by the virus. We must allow everyone to engage in practices that

flatten the curve, including social distancing and rigorous hygiene—particularly for those among

us who are most vulnerable. This is simply not possible in IDOC prisons today. Defendants have

left highly vulnerable prisoners to sit in their cells and wait for this disease to rip through their

prisons, leaving death and severe illness in its wake. The Constitution demands better. This

Court should grant Plaintiffs’ motion, preliminarily certify Plaintiffs’ proposed subclasses 1 and

2, and order Defendants to transfer the following individuals to their homes to self-isolate via a

temporary medical furlough:




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  c.     People who have serious underlying medical conditions that put them at
         particular risk of serious harm or death from COVID-19, including but not
         limited to: those with chronic lung disease or moderate to severe asthma, people
         with heart disease, people who are immunocompromised due to cancer or other
         medical conditions or treatment, people with severe obesity, people with any
         other underlying serious medical conditions such as those with diabetes, renal
         failure, liver disease, and any other condition specifically identified by CDC
         either now or in the future as being a particular risk for severe illness and/or
         death caused by COVID-19 and who are eligible for medical furlough pursuant
         to 730 ILCS 5/3-11-1; and

  d.     People who are medically vulnerable to COVID-19 because they are 55 years of
         age and older and who are eligible for medical furlough pursuant to 730 ILCS
         5/3-11-1.




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                                                   Respectfully submitted,

                                                   /s/ Sarah Grady
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                              CERTIFICATE OF SERVICE

        I, Sarah Grady, an attorney, hereby certify that on April 2, 2020, I caused a copy of the
foregoing Plaintiffs’ Emergency Motion for a Temporary Restraining Order or Preliminary
Injunction to be filed using the Court’s CM/ECF system. I further certify that I, or another one of
Plaintiffs’ attorneys, will promptly serve a copy of the same on IDOC’s Chief Legal Counsel,
Deputy Legal Counsel for the Office of the Governor, and the Illinois Attorney General’s Chief
Deputy.


                                                     /s/ Sarah Grady
                                                     Sarah Grady
                                                     Attorney for Plaintiffs




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